             Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 1 of 48


 I
V.                                                                                               fawn.
                                                                                      S"
                                                                                                         IFF'kE-B
              IN THE DISTRICT COURT OF BUTLER COUNTY,
                                                      RagsgllLEﬁlcauwrv
                                                              ;    TCQJRT
                      (THIRTEENTH JUDICAL DISTRICT)
                          .




                                                        G???
                                                             JUL 28 M1    0a,.                                       '

      ROBERT D. BLAUROCK,

      Plaintiff/Petitioner;
      V.
      SOUTHWIND SURGICAL GROUP;
      BRANDON S. CUNNINGHAM, M.D.;
      ALAINA D. DRESSLER,            P.Ar;                         Case No.     6251"dA/?'1'725
      BARD DAVOL      INC.;
      CORIZON     LLC.,   CORIZON      INC.;
      CENTURION HEALTH CARE
      PROVIDER/K.D.O.C.;.                                          Petition Pursuant to K.S.A.
      Defendants/Respondents.                                      Chapter 60

                                      MEDICAL MALPRACTICE TORT
                                    Under    K.S.A.          §    60513(7)(c).
             COMES NOW,       the   plaintiff/petitioner Robert                   D.       Blaurock;
      pro se; in the above captioned case matter; hereby asks this
     'Court to grant him this foregoing Medical Malpractice Tort Claim.
      The    plaintiff states as.follows:
      1.         I Robert D. Blaurock;             am       the    plaintiff in       the above named
           case matter, seeking         $    200,000. due to injury. K.S.A. 60208.
      2.         Plaintiff suffered          an    injury which required                    a    secondary or
           revision surgical procedure,                     made    necessary    tO        correct errors
           that occurred at the time of the original November 02, 2018,
           double, s/p    bilateral         open    inguinal hernia repair; with                             mesh.

      3.         Plaintiff alleges that:
           (a)      Brandon S. Cunningham, M.D. and Alaina D.                                   Dressler, P.A.



                                                        1
        Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 2 of 48

                                                                         1




                 incorrectly installed into the plaintiff's left side,
                 lower abdomen; 1 Plug Marlin Perfix Mesh, X-Large, Id.
                 Bard Mesh    Perfix Plug [Ref] 0122780; Lot            HUBX 1127;

                 expiration date 10/28/22, said mesh did tear loose;
                 resulting in pain and suffering to the plaintiff;for
      (b)        DavolxInc.,         100    Crossing Boulevard, Warwick, Rhode Island
             '

                 02886, Telephone No. 1-800-556-6275 manufactured                  a

                 defective product, 1 Plug Marlin Perfix Mesh, XLarge;
                 Id. Bard Mesh Perfir Plug [Ref] 0122780; Lot HUBX 1127;
                 expiration date 10/28/22, sold,that particular mesh to:
                 an    insurance buyer's group, hospital; physician or other
                 unknown    retail         vendor; which later became installed into
                 the   plaintiff       on    11/02/18; to which that product did tear
                 loose; causing plaintiff internal pain and suffering.
      (c)        The defendant's: Sohthwind Surgical Group, Brandon S.

                 Cunningham, M.D.; Alaina D. Dressler, P.A.; Davol Inc.;
                 Corizon LLC./Corinon Inc.; and the Chief Physician for
                 the State of Kansas/K.D.O.C. couldﬁhave foreseen on
                 should have foreseen            a   probability of   mesh   failure,
      (d)        Injury to the plaintiff,              a   secondary surgery; could have
                 and should have been            avoidable had greater quality
                 controll    and        inSpection by said defendant's been taken.
'4:         Plaintiff      now       lives in fear that the right side inguinal
      hernia mesh, Id.           1   Plug Marlin Perfix Mesh, X-Large; Bard Mesh
      Perfir Plug [Ref] 0112780, Lot                  HUCT   2077, expiration date of
      06/23/23,        will also tear         loose internally; and necessitate
                                                                         \

      another repair surgery. Available Supporting Exhibits Attached.


                                                 2
                 Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 3 of 48


     I.
(ﬂ




          5.      The    original procédure       was performed   at the Hays Medical
               Center, Southwind Surgical Group, 2500 Canterbury Drive, Hays
               Kansas 67601; a division of the University of Kansas Health
               Care System. Telephone (785)-623-5945, Fax. (785)-6435949.
          6        The surgeon(s) that performed the procedure are Brandon S.

               Cunningham M.D.,        assistant Alaina   D.   Dressler P.A.; anesthetist
               David C. Bose. To the best of defendant's knowledge, Dr.Brandon
               Cunningham's main        office  location is at the Phillipss.County
                                                 or

               HOSpital,   115C    State Street; Phillipsburg, Kansas 67661. Tele.
               (785)-623-5945 or (785)543-5226.          No   other address is known
               for Alaina D. Dressler, P.A.
          7        The (surgical mesh) installed as to the left side inguinal
               hernia repair is identified as: 1 Plug Marlin Perfix Mesh
               Xharge or Bard Mesh Perfix Plug [Ref] 0122780, ﬂm6£]lHUBX 1127;
               exp. date 10/28/22. The mauufacture is Davol, 100 Crossing Blvd.
               Warwick, Rhode Island 02886. Telephone 1-800-556-6275. This
               mesh was installed into the plaintiff on November 02, 2018.

          8:       The (surgical mesh) installed as to the right side inguinal
               hernia repair is identified as 1 Plug Marlin Perfix Mesh
               XLarge or Bard Mesh Perfix Plug [Ref] 0112780, [Lot] HUCT 2077;
               exp. date 06/28/23. The manufacture is Davol, 100 Crossing Blvd.
               Warwick, Rhode Island 02886. Telephone 1800-556-6275. This
               mesh was installed into the plaintiff on November 02, 2018.
          9        On    or about N0vember 29. 2018, during         a   Post-Operative
               Visit,    the   plaintiff     expressed his concerns to Dr.Brandon S.
               Cunningham,      e.g.   a   puffiness/swelling, left side     abdomen.




                                                      3
             Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 4 of 48
(O




           To the       best of the     plaintiff's collective recollection,             the

           physician Dr.Brandon S. Cunningham explained that the swelling
           would occur on and off for approx. 6 months, cease when healed.
     10.          The    plaintiff     inbetween the 11/29/18 postop.      Visit        and

           in July 2020 noticed an increase as to: an internal burning/
           stinging sensation and swelling at the former hernia repair.
     11.          On    July   O9, 2020, the    plaintiff notified     the (K   D   O    C   )

           Centurion Health Care Provider (Records Clerk). regarding
           information search; seeking(names of physicians, date of
           procedure;          mesh   manufacture). See   Plaintiff's Exhibit       G.

     12.          July 24, 2020, the plaintiff contacted the Hays Med.
                  0n

           (records clerk), 2220:SanterburyiDnivegrHaysgKS. 67601;
           seeking [a]ll informations relative to the 11/02/18 procedure.
           Such request had no return            reply.
     13.          On    August 19, 2020, the      plaintiff   again notified the Hays
           Med.    (records       clerk), with   an   HIPPA Complaint Authorization For

           Release of Patient Information, pursuant to 45 C.F.R. 164.508.
           See    Plaintiff's Exhibit         H(1) and    (2).
     14.          0n    Sept. 03', 2020, after recieving the         Phillips   County

           Hospital address, eug.~11503$tate Street, Phillipsburg, KS.
           67661, by means of an HIPPA Complaint Authorization For Release
           of Patient Information, pursuant to               45   C.F.R. 164.508, did
           contact the (recdrds clerk) seeling               [a]ll   informations
           relative       to the 11/02/18 procedure. See           Plaintiff's Exhibit
           1(1)    and    (2).
     15;          Sept. 03,'2020, the plaintiff received from the Hays Med.
                  On

           (records clerk) the informations sought. ScanSTATfadHreSSiu
           Plaintiff's Exhibit J.
             Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 5 of 48


ft


     16.       On   September 04, 2020, the            plaintiff   requested the K.D.O.C.
           (C.I.B.)   to pay ScanSTAT the amount of $5.85,    Plaintiff's
           Exhibit Kﬂl),   and on    Sept. O7. 2020 Via (A.W.R.) the plaintiff
           notified (C.I.B.)    to   pay ScanSTAT $5.85. Plaintiff's Exhibit K(2).
     1]        Also    Sept. O4, 2020, the defendant sent a letter directly
                      on

           to Dr.Brandon S. Cunningham, thus notifying said physician of
           the need for revision surgery.            Plaintiff's Exhibit L(1-2)..
     18.       on "Sept.   12, 2020, the         plaintiff via K.D.o.c. Form-9 made
           inquiry of the Centurion Health Care Provider at NOrton C.F.
           " if
                Ms."McCartney (APRN) made the necessary notations in the
           plaintiff's medical files         as to the need         for revision surgery?"
           Plaintiff's Exhibit M.
     19.       On    Sept. 12, 2020, the         plaintiff   made    initial   contact to
           the mesh manufacture (Brad) Davol              Inc.,    100   Crossinging Blvd.,
           Warwick,RI. 02886, thus informing such company of a probable
           civil action, one in which the plaintiff would seek monetary
           compensation; pending secondary surgery                 results.    See

           Plaintiff's Exhibit       N.

     20.       On    Sept. 17, 2020, the         plaintiff via K.D.O.C.,         Health
           Services Request Form, asked Centurion Health Care Provider to
           schedule an appointment for properly documenting the hernia
           injury. Plaintiff's Exhibit            O.

     21.       0n   April 14, 2021,       upon    arrival at      the K.D.O.C.,      El Dorado,
           C.F.,    the Centurion Health Care Provider, K. Motter (ARPN),
           could not clear the    plaintiff for a work detail, due to                   the

           severity of the    herniated area. Plaintiff's Exhibit P.



                                                  5
                  Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 6 of 48


     I.
(O




          22.       On   Sept. 23, 2021, the       plaintiff    requested the K.D.O.C.,
                Centurion Health Services Provider to update his pulhex                       file,
                to which another physical examination was conducted by
                Dr. Schuler,    who   placed the    plaintiff    on   [a]ll restrictions;
                C.T./M.R.l. ordered      and    revision surgery approval pending.
                Plaintiff's Exhibit      Q.

          23.       On November 08, 2021, the plaintiff was transpOrted to the
                El Dorado. Kansas Medical Center/Hospital for the purpose of
                a C.T./M.R.I. of the left side, lower pelvic area inguinal
                hernia on the pelvic.»
          24        On   December 02, 2021, the         plaintiff     had a
                                                              physician
                consult with Dr. Schuler. According to such conversation, the
                physician recommended an ultrasound be performed prior to
                a consultation with a surgeon.
                                                                                                  1




          25.       On   December O8, 2021, the         plaintiff     had a physician consult
                with Dr. Gaston, whom explained the basis procedure regarding
                hernia mesh removal and installation of surgical mesh. Doctor
                Gaston, read the former surgical procedure records, then
                explained to the plaintiff that, apparently the prior surgeon
                Dr. Cunningham had installed surgical mesh, i.e. a
                                                                                     '
                                                                     plug,'_on
                top of the herniated area, and when the new surgical procedure
                is performed; Dr. Gaston will install the mesh from below, or
                underneath.
          26.       0n May     05, 2022, I was admitted into the          c F K D o c    /E   D

                clinic for an overnight stay, and was instructed not to eat or
                drink anything after midnight. Throughout the overnight stay,
                no blood samples were collected, and no type of pre-surgery
                testings performed or administered.
          27.       On May     O6, 2022,      at approx. 08:15 A.M., I
                                                                  transported  was
                to a medical building, not a hospital, administered blood
                pressure, heart rate, weight check. Patient informations were
                exchanged, including medication allergies and past surgical
                procedures. Mucinous Cystademo Carcinoma was made known.

                                                    6
                 Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 7 of 48


    I.

               I was administered four pills orally, IV-Pik line installed;
           at approx; 09:30 A.M. (to the best of my collective recollection)
           regarding time; I was taken into the 0.R.; strapped down; then
           Dr. Gaston and assistants/attendees performed removal of the
           existing Bard Davol, Merlin Perfex Plug; and installed a different
           type of hernia or surgical mesh. At approx. 11:30 A.M., I awakened
           in a recovery room, allowed to dress myself; and exit the medical
           facility under my own physical ability. Post-Procedure pain
           medications were offered, to which I refused.narcotic medicines.
           At approx. 13:00 P.M., the K.D.O.C/'E.D.C.F. medical personnel
           and on duty physician honored my previously submitted invocation
           of K.A.R. § 28343b aftercare refusal. Therefore, at approx.
           14:00 P.M., I was approved and allowed to return to D1 C.H.
       (264).
    28.'   0n 05/10/22, I submitted to the Centurion Health Care Providér['
       E.D.C.F., a Health Service Request Form, thus expressing concerns
       of stitch/suture tearing, or premature dissolving. Medical tape
            placed over the open area.
           was
'




    29.     On 05/13/22, I submitted to Centurion Health Care Provider/

        E.D.C.F., a Form-9 requesting access to medicalginformations and
        copy of the 05/06/22 surgical report. (A.P.R.N.) Ms. Johnson's
        reply was that, I would be allowed access to such informations
        once the surgical report was entered into the Centurion data base.

    30;          On   or about 05/26/22,      a   nurse,    name    (U.f.n.) afforded   to   me

           a medical information release form, signed and dated, similar
           to an HIPPA request, except the form afforded does not have any
           state of federal authority for such patient information release.
     31.         0n or about    June O6, 2022,       submitted to Centurion
                                                        plaintiff
           health Care Provider, E.D.C.F.; K.D.O.C. an HIPPA Complaint
           Authorization For Release 0f Patient Information Pursuant to
           45 C.F.R. 164.508* due to Centurion's failure or refusal to
           comply with plaintiff's two former information release requests.
           Centurion is attempting to not only obstruct plaintiff's access
           and copy of his medical informations, but limit liability against
           civil suit     and   litigation.

                                                    7
         Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 8 of 48


I.
             INJURY COMPLAINT   AND A   BRIEF   DOCUMENTED HISTORY

          In General, for a time.period of approx. 13 years; the
     plaintiff experienced internal burning and throbbing sensations
     throughout his lower abdomen, swellings/inflammations; seemingly
     partial bowel blockages; pain towards the male genetalia areas.
     Plaintiff equates the sensations as being compared with tape or
     a bandaide being torn off internally several times each day.
     The severity level of pain felt varied due to strain and/or
     over-exertion during his work details/jobs assigned by K.D.O.C.
     Plaintiff re-injured himself on a daily basis for approx. 13 yrs.
          While in custody of the K.D.O.C., plaintiff was often forced
     to perform physical tasks beyond his capabilities. When his
     complaints to staff members and medical personell were discussed,
     plaintiff remained under threat of a Class I Work Performance
     Disciplinary Report, in violation of I.M.P.P. 44-12-401. A
     conviction of such offense would result in the plaintiff being
     placed in disciplinary segregation units, i.e.     the hole,'
     loss of custody level, loss of incentive level; loss of preferred
     housing; loss of visitation privileges; loss of activities; and
     probable transfer to another...more restrictive facility. This
     type of incident and disciplinary report was narrowly avoided
     at E.D.C.F. on the date of April 14th, 2021, when a staff
     member attempted to assignzthe plaintiff a job in the kitchen.
     At such time, Ms.Sharon Smothers (R.N.) for Centurion Medical
     would not clear the plaintiff for such work detail. However,
     in the mamthséf September 2021, O.I.C. Mr. White of the E,D.C.F.
     Laundry Detail did issue the plaintiff a Class I Work Performance
     Disciplinary Report, Case No. 21-09-234. On 09/23/21, Centurion
     Medical updated their pullhex, e.g. plaintiff's medical file;
     reinstated a medical layin status and bottom bunk restriction.
     On October O8, 2021, CSI Webster reviewed plaintiff's medical

      file, contacted Centurion/E.D.C.F. and dismissed the D.R.
           Plaintiff offers these informations and exhibit/documents,
      in order to substantiate the durress and constant threat he
     remained under for approx. 13 years by K.D.O.C. if he refused
      to work and re-injure himself each and every day.
               Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 9 of 48

     (t
[4




                   INJURY COMPLAINT   AND A       BRIEF   DOCUMENTED HISTORY

          A     The Kansas Dept. of Corrections, E.D.C.F. (R.D.U.); first
                documented the plaintiff's double hernia injury on or
                about the date of      17, 2006. At such time, after
                                      July
                a basic Visual/physical examination, no treatment
                recommendations were offered.
          B.    Plaintiff, again made complaint and record of the hernia
                injuries while in custody of the K.D.O.C./Hutchinson
                Correctional Facility upon several occasions inbetween the
                dates of May 2007 through December 2012. The physician
                Larry Baumgardner, M.D. and (A.P.R.N.) Deb Lundgren
                varied as to possible reduction techniques, to too late;
                 meaning the          are nonreduceable, to wearing a
                               injuries
                 hernia belt to prevent inflaming said area. Plaintiff
                 could not obtain medical layin status, work restrictions;
                 nor bottom bunk restriction.
                 Plaintiff      record of the hernia injuries while housed
                             made
                 at the E.D.C.F. SouthEast Unit Oswego Facility inbetween
                 the dates of December 2012 and March 2013. No treatment
                 recommendations or medical restrictions were imposed.
          DI     Plaintiff's herniated abdominal injuries were documented
                 at the K.D.O.C. Lansing Correctional Facility upon multiple
                 occasions inbetween the dates of May 2013 through February
                 2018. No treatment recommendations or medical restrictions
                 were imposed. IhrSept. 2014 plaintiff is cancer diagnosed.
          E.     Plaintiff entered the K.D.O.C. Norton Correctional Facility
                 on or about the date of February 15th, 2018. At that time,
                 the medical staff measured the area of injury, documented
                 such injury, offered a hernia belt, noted said injuries
                 as non-reduceable, began clearanCes in order to have
                 an outside physicians opinion, XRay, M.R.I., and later
                 scheduled the November 02, 2018 surgery,


                                              9
    Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 10 of 48



                        MEMORANDUM IN SUPPORT
                       (MEDICAL MALPRACTICE)
Standard Of Review:
    In Tefft V. Wilcox,6   Kan.46,6l(l870)... This Court held that
a physician is obligated to his patient under the law to use
reasonable and ordinary care and diligence in the cases he under
takes, to use his best judgment, and to exercise that reasonable
degree of learning, skill, and experience which is ordinarily
possessed by Other physicians in the same or similar locations.
We have continued to impose those duties upon physicians. See;
P.I.K. Civil 15:01 and cases there cited. A physician also has
the duty to make a reasonable disclosure to the patient of
pertinent facts [***21] within his knowledge related to a proposed
treatment, in order that the patient may intelligently consent
or refuse treatment.

Analysis:
    A  medical malpractice claim requires the same elements of
proof as any negligence action: (l) the existence of a duty, (2)
breach of that duty, (3) injury, and (4) a casual connection
between the duty breached and the injury suffered. Schmidt v.
Shearer,26 Kan.App.2d.760,764,995 P.2d.381(l999).
     To establish a prima facie case of medical malpractice, a
plaintiff must demonstrate that: (l) the defendant had a duty to
conform to a specific standard of conduct for the protection of
others against an unreasonable risk of injury, (2) the defendant
failed to conform to that required standard, (3) the defendant's
breach of that duty was the proximate cause of plaintiff's injury,
and (4) the plaintiff was injured as a result.

    See; Malone v. University Of Kansas Medical Center,220 Kan.
371,552 P.2d.885(l976) and Travis v. Bischoff,l43 Kan.283,54 P.
2d.955(l936).
    CERTAIN DUTIES AND OBLIGATIONS:are imposed upon physicians
and hospitals by law. Breach of such duty by a physician    is
malpractice," and an action in malpractice is one in tort, even
though there was a    contract, express   or   implied, for employment.

                                  10.
               Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 11 of 48

     (a
Lt




          Similarly an action for damages against a hospital for negligence;
          i.e., for breach of duties imposed by law, sounds in tort. This is
          true though there may be a contract between parties.
               In Noel v. Proud,189 Kan.6,8,ll,367 P.2d.6l(196l) "(As early
          as 1870 the Kansas Court recognized the general      rule that a
          physician may contract specifically for a      particular result. It is
          generally recognized that a physician or a surgeon may bind
          himself by express [*211] contract to perform a cure or to obtain
          specific results by treatment or an operation.)"
               " As
                    malpractice covers every which way in which a patient is
          injured through the deriliction of a doCtor in his professional
          capacity, the approach, depending on the facts, can be through
          any of several familiar forms of actions. But no matter what the
          approach, it remains an action for malpratice, [*756] not one
          for deciet, contract, or anything else. A well recognized ground
          for recovery is where a physician represent that he has the Skill
          to perform a certain operation when in fact he does not. This
          form of action requires the same elements of proff that an action
          of fraud requires, yet it could not be successfully disputed that
          as between the two it is an action for malpractice, "
                            PROBABLE CAUSE FOR     CIVIL ACTION
                               MEDICAL MALPRACTICE TORT

              See, Bartal v. Brower,268,l95,993 P.2d.669(1999) Kan. Lexis
          657, decided 11/12/99.
          Prbbable Cause: for instituting a civil action exists when there
          is a reasonable ground for suspicion, supported by circumstances
          sufficiently strong themselves to warrant a cautious, or prudent,
          man in the belief that a party committed.the act of which he is
          complaining.
          Liability: For there to be liability of a doctor for nondisclosure,
          the unrevealed risk must materialize, and there must be harm to
          the patient, there must be a casual relationship between the
          physicians failure to adequately divulge information and damages
          to the patient.'


                                             11.
           Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 12 of 48
L4




           casual connection exist between the physician and non
           A
     disclosure to the patient and the patients damage when, but only
     when, disclosure of significant risks incidental to treatment
     would have resulted in a decision against it. Whether the patient
     woild have refused the treatment or medical procedure had the
     physician made_adequate disclosure is to be determined objectively.
     If adequate disclosure could reasonably be expected to have
     caused the patient to decline the treatment or procedure had the
     patient been informed of the kind of risk or danger which resulted
     in the harm, causation is shown but otherwise not, and the patients
     testimony is relevant on such isSue, but should not bé controlling.
         See; Woolsey v. Lee,[No. 66,178].Court Of Appeals Kansas(1991),
     Kan.App.Lexis 684, decision 9/6.l991. Not designated for publication
     Reported as Table Case at 816 P.2d.103l(l99l) Kan.App. Lexis 998.
     Overview:    Plaintiff's malpractice action could survive summary
     judgment without expert medical evidence because common sense was
     sufficient to determine whether operating.on a conscious patient
     was   negligent.
           Plaintiff's medical malpractice action     must prove   negligence
     and that medical experts negligence causediadverse results.
         Expert medical testimony is ordinarily required to establish
     negligence or lack of reasonable care on part of the physician or
     surgeon in care and treatment of patients. However, this rule
     '
       does not give "vmembers of the medical care profession a monopoly
     on common sense, and the rule is limited to those matters clearly
     within the domain of medical science. Webva. Lungstrum,223 Kan.
     487,489,575 P.2d.22(1978). Thus, in a case where lack of care or
     proximate cause can be decided by an average citizen based on
     common knowledge, expert testimony is unnecessary. This exception
     to the general rule applies when the treatment or care of the
     patient has such bad results that lack of reasonable care would
     be obvious from the every day knowledge of persons generally.-
     Common Knowledge Of Jurors. Savina v. Sterling Drug Inc.,247 Kan.
     105,134,795 P.2d.915(1990).


                                         12.
      Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 13 of 48




      See, Amanda K. Bonin V. Donald D. Vannaman M.D.-[No.75,014]
 Supreme Court of Kansas, 261 Kan.199,929 P.2d.754(1996) ...in
part as follows;
    Under Kansas Law, most of an adults causes of action are
governed by a 2-year statute of limitations. K.S.A. 60513(a).
The statutes of repose for adults vary, depending upon the type
 of action at issue. For most causes of action, an adult has a
 10-year repose period from the time of the act giving rise to the
 cause of the action in which to file a claim. If the claim is not
 filed within the 10-year period, then the claim is expired,
 regardless of whether the plaintiff's injury has been discovered.
 For a medical malpractice action, an adult has a 4year statute of
 repose period from the time of the act giving rise to the cause
'of the action in which to file a claim. If the claim is not filed
 within the Aeyear repose period, then the claim is expired,
 regardless of whether the plaintiff's injury has been discoveredfi
K.s.A.- 60-513(c).
                                '




     The court treats malpractice legislation as economic regulation
in which the rational basis test is applied. The rational basis
test is violated only if the statutory classification rest on
grounds wholly irrelevant to the acheivement of the state's
legitimate objective. The State legislature is presumed to have
acted within it's constitutional power, even if the statute results
in some inequality. Under the reasonable basis test, a statutory
discrimination will not be set aside if any state of facts
reasonably may be conceived to justify it. Leiker v. Gafford, 245
Kan.325,363-64,778 P.2d.823(1989).
     Section 18 of the Kansas Constitution Bill of Rights provides
that all persons, for injuries suffered in person, reputation Or
property, shall have remedy by due course of law, and justice be
administered without delay.
    K.D.O.C. Personal Injury Claim, K.A.R. 44-16-104(a) and
K.S.A. 75-52,138 states that " Any inmate in the custody of the
Kansas secretary of Correction... prior to filing a claim or civil
action naming the State of Kansas, any political subdivision of
the State of Kansas, any public official, the S.O.C., the Warden,
the Sheriff, or an employee of the department of corrections or the
                                    13.
            Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 14 of 48


(I


     County; while such employee is engaged in the performance of
     such employee's duty...sha11 have exhausted such inmate's
     administrative remedies; established by rules and regulations
     promulgated by the S.O.C. or by County resolutions; concerning
     such   ciVil action."
                                 TIMELINESS OF FILING
             Plaintiff
                    became reasonably aware of the re-injury in the
     month of July/August 2020, only two years after the original
     surgical procedure performed by the defendats on Nov. 02, 2018.
     Plaintiff, to date, e.g. July 2022 is still not fully aware as
     to the extent of the damages caused during the 11/02/18 surgery,
     because he has not yet gained possession of the May 06, 2022
     Operative Report performed by               Gaston, M.D.
            Irregardless,                  disease pandemic, and
                             due to the Covid-19
     according to the Kansas Supreme Court Administrative Order
     2020~PR-016, a complement to Administrative Orders 2020-PR13
     and 2020-PR-15, on March 12, 2020 Kansas Governor Laura Kelly
     declared a disaster emergency sinmilar to that executed by the
     then U.S. President Donald Trump on March 13, 2020. Such is a
     substitute for Senate Bill No. 102. These executive and/or
     Administrative Orders became effective on March 18th, 2020, as
     signed by the Ka,Sup.Ct. Justice Marla Luckert. These'
     Administrative Orders suspended all nonemergency Court hearings
     until lifted or removed by the Kansas Governor or U.S. President.
     Therefore, plaintiff's filing is well within prescribed and
     statutory time limitations.
                                   RELIEFS REQUESTED
            Pmaintiff asks this Court to grant       him   this petition, jury
     trial,              defendants, enforcement of monetary/
                summons upon
     compensatory/punitive/exemplary damage awards as found
     equitable by the jury or this Court, and all other relative
     motions pertaining to his civil action, i.e. tort claim.
                                                RESPECTFULLY SUBMITTED
                                                Robert D. Blaurock



                                          14.
       Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 15 of 48


                           CERTIFICATE 0F SERVICE
    This is to certify that on this égjjﬁ day of !;72g/y/   , 2022

I forwarded to the Clerk of the Butler County Kageas Dgstrict
Court, 1 original and two copies of this foregoing Medical
Malpractice Tort Claim, through the U.S. Mail/Postal Service;
first class; postage prepaid; and that each of the named
defendants have received copy of the same.
Clerk of the Court                                           Bard Davol Inc.
Butler County, KS.D.Ct.                                      100 Crossings   Blvd.
Judicial Center                                              Warwick, Rhode Island 02886
201 West Pine Ave.                                           1800556-6275 Tele.
El Dorado, Kansas 67042
(316)-322-4370 Tele.
(800)-5953651                                               Corizon LLC./Corizon Inc.
                                                             M2 Holding Co.
Southwind Surgical Group                                     M2 Equity Co.
c/o Brandon S. Cunningham, M.D.                              Valitas Intermediate Holding Co.
2500 Canterbury Drive,      Suite     202                    2 Richdale Drive
Hays, Kansas 67601                                           Sommerville, Maryland 021453716
(785)-6235945 Tele.                                          (978)2700273 Tele.
(785)-623-5949 Fax.
             0r                                              Centurion Health Care Provider
Phillips County Hospital
                                                             1593  SpringHill Road, Suite     600
c/o Brandon S. Cunningham, M.D.                              Vienna, Virginia 22182
1150    State Street                                         (703)-749-4600 Tele.
Phillipsburg, Ks. 67661
(785)-543-5226 Tele.                                         Kansas Secretary of Corrections
(785)             Fax.                                      c/o Mr.Jeff Zmuda
                                                             714 S.W. Jackson St., Suite 300
Southwind Surgical Group                                     Topeka, Kansas 66603
c/o Alaina D; Dressler, P.A.                                 (785)-296-3317 Tele.
2500 Canterbury Drive, Suite 202                             (785)296-0014 Fax.
Hays, Kansas 67601
(785)-6235945 Tele.                                         GE! ¢uﬁ§€gii!§£?
(785)623-5949 Fax.
             0r                                              Robert D. Blaurock
                                                             # 86516
Phillips    County Hospital                                  El Dorado Correctional      Facility
c/o Alaina D. Dressler, P.A.                                 1737 S.E. 54 HWY.
1150   State Street                                          P.O. Box 311
Phillipsburg, KS. 67661                                      El Dorado, KS. 67042
(785)-543-5226 Tele.
Sworn to                   this 19'          day                             ,   2022.
                                                           of/cgﬁ]4}£
   /                   V'HiZJL
            before/miypn
                                                      -
                                                          State o fKansas
N0TQR§7P653;6//                  NOTARY PUBLIC
                                     AMANDA JOHN'SO:
                                              '
                                    My Appt Expires
              Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 16 of 48
                                                                         .




 (t
                                         HaysMedicalGroup        d                                      Page   1

                                                Southwind Surgical
                                  2500 Canterbury Drive, Suite 202
                                                                    * Hays Kansas
                                       (785) 623- 5945 (785)   623- 5949 Fax
                                                        *




Patient: Blaurock, Robert                           '
                                                                              MR #:      M000304962
                     '
DOB:      07/15/1961                                                          Encounter: A00019185487
Provider: Cunningham,Brandon S MD                                             Date: 09/27/18
Account #: AC0019185487
LOCATION Southwind Surg Phillipsburg


Visit
Date of Service      .




Date of service: 09727/ 18
Reason for Visit
Reason for visit/Chief Complaint: 0,McCartney,'Bilatera| Inguinal Hernias

Referring provider
Referring provider: Patricia McCartney, APRN
Type of Patient
Type of patient: New Patient


Home Medications


    Last Reconciled 09/21/18 by Danielle B Weigel

No Known Home Meds



Allergies
aspirin Allergy (Unknown, Veriﬁed 08/23/18 12:46)
       unknown
ibuprofen Allergy (Unknown, Veriﬁed 08/23/18 12. 46)
           unknown


HPI                          '/
HPI
HP!
57--yearold male with bilateral inguinal hernias. These been present for 10- 12 years. Occasionally
they are painful. He does not necessarily thInk that they are getting larger he denies any previous
hernia surgery. He did have mucinous carcinoma of the appendix for which she underwent a right
hemicolectomy in 2014.

PFSH                     \
Past, Family, Surgical history
PFSH                                                               :




Medical Histog
                                                                                                   l
                                                        W.    '


Bilateral inguinal hernia (Acute)
Primary mucinous carcinoma of digestive organ (Acute)

Page   1



                                               Wsmhhlhlt
              Case 6:22-cv-01196-JWB-GEB    Document 1-1 Filed 08/29/22 Page 17 of 48
                                       ViUOOEUﬂUEIV'QIuvvuh                    In   vuluvuxx




                                             HaysMedicalGroup
                                             Southwind Surgical
                                                                *
                               2500 Canterbury Drive, Suite 202   Hays, Kansas
                                                    *
                                    (785) 623-5945 (785) 623-5949 Fax

Patient: BlaurQcKRobert                                                                MR #:      M000304962
DOB:      07/15/1961                                                                   Encounter: A00019185487
Provider: CUnningham,BrandonSMD                                                        Date: 09/27/18
Account #1 A00019185487
LOCATION Southwind Surg Phillipsburg

negative for tenderness or distended
Skin
Skin: Negative for rash
Upper Extremities
Upper extremity: Negative for edema
Lower Extremities
Lower extremitiy: Negative for edema

AsSessment & Plan       '

Plan
57yearold male with bilateral inguinal hernias. These are reducible.



Plan is for bilateral open inguinal hernia repair. He wishes to have this performed open. We will
proceed in that fashion.



                                   ~
Copies to: \McCartneyPatricia APRN

<Electronically signed by Brandon S Cunningham MD> 10/15/18 1709



                            Regan Not Authenticated Until Signing Provider Signature is in Piace
Charles C Schultz, MD                                                                      Zurab Tsereteli, MD
                                                                                           Brandon S Cunningham, MD
AnthonyM Hornick, MD
Paul C Teget, DO                                                                           Jerod M Grove, MD
Alaina D Dresslar, PA




                                                   latlrnt'itiﬁ'eﬁﬁ      Exit-1%                  E53"?




Page 3




                                                                                                                      021
                        Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 18 of 48

                                                         1115.113! AND PH.(JAL ﬁEXAM'l'ION
A:

                                                      (Anticipated Stays Less Than 48 Hours with Minor Problems)
      Chief Complaint:                                 Ev           (L'r'ts'            jug                     )17/25142'»
     Histo         of                    ntI           ess   (asa      opriate_toth           tie '5
                                                                                                           condition).
                                                                                                                                    57            I/l'L   6'
                        Tress,                                                 CLJW
     Pertinent Medical/Surgical History.

     Social History:
     History of Tobacco Use: El Yes  Cl No
     Smoked during last 12 months: D Yes Cl No
     Family History:
     Review of Systems:
      General:                                    CI   Fever        Cl Chills     III   Sweats    El Fatigue Cl Wt. Gain                              D Wt. Loss
      HEENT:                                      D HA     El Vision Change                 Cl Dizziness El Ear Ache
                                                 El Sore Throat CI Discharge
      HEENT/Z:          '
                                    '4
                                                 Cl Blurred Vision    El Ringing                    D Deafness                  El Vertigo
                                                 El Epistaxis Cl Hoarse
      Cardiac:                                   El Chest Pain CI Palpitations                      D DOE                    El Edema
                                                 El PND El Diaphoresis
      Respiratory:                               D Cough AD Congestion                     El, Expectorant                    D Wheezing
                            '
                                                 Cl SOB  D Hemoptysis
      GI:                                        CI Anorexia El Dysphagia                     Cl    N/V                 CI Abdominal Pain
                                                 Cl Heart Burn Cl Diarrhea
      GU:                                        CI    Dysuria D Urgency Cl Frequency D Nocturia
                                                 Cl    Sex Dysfunction D Discharge
      GU/Z:                                      Cl    Incontinence D Hesitancy CI Impotency Cl Irregular Menses
                                                 El    Lesions
     Musculoskeletal:                            El    Myalgia D Back Pain El Radiation CI Joint Pain
                                .        .
                                                 El    Joint Swelling El Injury
     Hematologic/Skin:                           III   Anemia Cl Adenopathy El Rashes El Leg Ulcer
                                                                                                            '

                                                 El    Bruising El Itching
     Neuro:                                      Cl    Memory Loss El Confusion "CI Weakness D Ataxia
                                                 CI Tremors            D Paresthesia                                7




     Psych:                                      Cl Anxiety           CI Depression       El Insomnia
                                                                                                       '
                                                                                                                             [I Agitation
                                                 El Hallucinations             El Disorientation
     Systems Negative:                       .
                                                 #311 other systems negative and any system listed above, if no symptoms indicated
                                                                                  Blaurock, Robert                       -




                HAYSMED                                                           1303:07/15/1951   57 M    AISduu/ozaom            soc      AS
        7'I _
                THE UNIVERSITY or KANSAS HEALTH SysrrM
                                                                                  V0°°51114336                                  M000304962




 Form# 10-5069     Revised 11/03, 17JOS, 3/08, 4/08, 7/08, 1/14, 8/14. 7/15, 9/15                               .                                                  Page   1   of 2


                                                                               31A1me1fszs           Ex                 T111 '31(51:2%
              Case 6:22-cv-01196-JWB-GEB  Document 1-1 Filed
                                       \HGdUi-zljizSEEVV-uzgvuur:      08/29/22
                                                                  DI vnuvurx v  Page 19 of 48

                                                 Hays Medical Center
                                                Operative Report



Patient: Blaurock,Robert

DATE OF SERVICE:
11/02/2018

DATE OF BIRTH:
07/15/1961

STAFF SURGEON:
Brandon Cunningham, MD

PREOPERATIVE DIAGNOSIS:
Bilateral inguinal hernia.

POSTOPERATIVE DIAGNOSIS:       '



Bilateral inguinal hernia.

PROCEDURES PERFORMED;
1. Left inguinal herniorrhaphy with mesh.
2. Right inguinal herniorrhaphy with mesh.

ANESTHESIA:
General with local.

COMPLICATIONS:
None.

SPECIMEN:
None.

CONDITION:
Stable.

INDICATIONS FOR PROCEDU RE:
This is a 57-year-old male that has bilateral sym ptomatic enlarging inguinal hernias.

DESCRIPTION OF PROCEDURE:




Name: BlaurockRobert                                                             DOB: 07/15/1961     7




MRN: M000304962                                                                  Pt Acct#: V00061114336   '



Physician:                                                                       Admit Date:
                                   ~                                             Disch Date: 11/02/18
Copies to: McCartney,Patricia APRN
                                                                                 Location: Ambulatory Surgery
                                                                                            '

                                                                                 1   of 2
                                                   Operative Report

                                                                            maﬁa (twice
    \c
            Case 6:22-cv-01196-JWB-GEB\HUJGEDQOEEVVﬁEUVVUE
                                         Document 1-1 Filed     08/29/22
                                                           DI VIIDVUA\ A Page 20 of 48

                                                        Hays Medical Center     '

                                   Discharge Summary, Stay Lgss than 48 Hours


Patient: BIaurock,Robert



PD-Discharge Summaﬂ'Short Frm

 Discharge Note:
                      '

-


Date of Admission:
11/2/18
Discharge Date:

11/2/ 18
Discharge. Diagnoses:
                                                   Current Active Problems

                                               Problem             Status     Onset
                                               Bilat ing hernia    Acute


Discharge Medications:
New
 Sennosides/Docusate Sodium [Senokot-S] 2 each P0 BID PRN #90 tab
   PRN Reason: Constipation
  Hydrocodone/Acetaminophen [Norco 5325 Tablet] 1 2 each PO Q6PRN PRN #20 tab
                                                                      -




   PRN Reason: Moderate Pain (Pain Scale 4-6)
Discharge Disposition: Other facility
Patient Instructions: CORE MEASURES FOR DISCHARGE- HAYSMED, Inguinal Hernia Repair (DC)                             »




Additional Instructions:
Discharge to facility when meets criteria.
                                                                                                                .

                                                                                                            _




Outer Dressings can be removed in 24-48 hours, then may shower. No soaking baths. Steristrips
on for a week/ until they peel off.
Review signs/symptoms of infection (redness, swelling, drainage that looks like pus, fever/chills).
Call if any symptoms.

Weight lifting 15 pounds maximum until return for ofﬁce appointment.
                 -



Followup in clinic in 2 weeks.
Usual diet as tolerated.

Narcotic pain meds for moderate pain, change to plain Tylenol as soon as possible.
Narcotics are constipating, take stool softener (Senokot) regularly while taking narcotics.
If constipation, may try miralax and or milk of magnesia.
No Driving with pain or while taking narcotics.

Next dose   if   needed:

                               '
Name: Blaurock,Robert                                                                 DOB: 07/15/1961   i


MRN: M000304962                                                                       Pt Acct#: V00061114336
Physician:                             _
                                                                                      Admit Date:
                                           '

       to: ~
                                                    '



Copies                     .
                                                                                      Disch Date: 11/02/18
                                               '
                                                                                      Location: AS
                                                                                      1   of 2

                                                                                                 'V'

                                                             at???"       emafsﬁmmae
                                                                            .                                     .                              .
                                           Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22
                                                                                               *5 Page  21 of 48
Report Dalia:                      '   _
                                                                           WHITE           9051439ﬁner:Mﬁfﬁt'ﬁﬁCVWWEEALWUUK                                 '
                                                                                                                                                                                                :4
11/02/13 1345's
                                                                                                                                                                             Schmidt'sﬁixody
2445149:   Blamroﬁﬁchur:                                                                                   new:          VOCOGZ;::336                                        Operation Cate/Time:
DOE:       07/1         361            539,:   5"              Gautier;         IV.                              K118:                                                          11,32'18 11:15


           #:3344613.   magnesia;                   mmrzm           EKGUINAIA          339mm


              ﬁt-Op Diagnosis:                      BIRTERAL        INGGINAL' HERNS


           Pﬁtéd-drelsle                   :ngufna'; Hernia Fegyair                        110:14hfa'                     W:+L\         M'Bk
           snrgecn(al         x                     Cunnizxghamﬁmmian s
           'kssisting         SuzgaouCsr) :          See: below {if none                listed.   no   assisting surgeon)
                                                    Messlar,Alaina              D


           Anesthetic Type:                         General,
           Anesthetist (a) I                        Bose . David     C:

             \


           23L:     See below (15 none                    listed.     than none}
                                                    5   ML


           Bleed madam; (a) Administere'd?                            (See patient          ml

            Surgical Specimeu(54}:                      Seé below         (if   anna.listed,- no surgical specimens obtained)

Grafts/Implants:                  See       balm    {if      listed. 301:: used)
                                                             none
    1      PLUG EARLIER PEREIX {€353 EELEEGE                   Site: INGULT Size:                      XZMARGE     Expﬂace: 3ﬂf28f22     Catﬂ:   83.413783       24151::   {REVCL

    1      PLUG   WIN             S'ERFIX MESH          XWGE Site: INSERT Size:                        XLhRGE      Expﬂate: OSIEBJEE     Catﬁ: $11278":          Mfr: DAVDL


Complications:
                                       N0 AQ,
        gem Signature:
                                           MM       MM M
                                           [lfirzuﬂ I  F!" kc                         11114111¢11                              m: e/Ti
                                                                                                                                         MMM MM
                                           Electronically Signed by
                                           Cunningham,Brandon S MD MD on
                                           11/26/18 at 10:51




                                                                                                                                 1
                                                                                                    P"   aliﬂiulff               Exhiib'ﬁ. if???"
                      Case 6:22-cv-01196-JWB-GEB  Document 1-1 Filed
                                               VVHDdﬁtpiogﬂvx-Iucvuph       08/29/22 Page 22 of 48
                                                                      u: VIIIIVUI\                                              \.




         '9
                                                                                                                                          '
                                                                                                                                              '



                                                    HaysMedicaFGroup                                                                              Page1
                                                      .
                                                           Southwind Surgical
                                                                              *
                                            2500 Canterbury Drive, Suite 202     Hays, Kansas                             '




                                                  (785) 6236945"   (785).62'3-59,49' Fax

                                                                                                                        MR #:      M000304962
        Patient:  Blauroclg Robert                                                                      '                                         '



                                                                                                                        Encounter: AC0019898436
                                        '



        DOB:      07/15/1961                              '
                                                                                                                        Date: 1129/18
_




        Provider: Cunningham,Brandon S MD
        Account #: AC0019898436
        LOCATION. Southwind Surg Phillipsburg


        Visit                                          /
        Date of Service
        Date of service: 11/29/18
        Reason for Visit.
        Reason for visit/Chief Complaint: O,S/P hernia repair (11/2/18)                                                               .




        Type of Patient
    -


        Type of patient: Post-0p Visit


    uAll'ergies

        aspirin Allergy'(Unknown, Veriﬁed 11/02/18 10:13)
                throat and facial swelling
                                                                                                            \


                                                                                                '


        ibuprofen"Allergy.(Unknown, Veriﬁed 11/02/18 10:13)           '        "




                throat and facial swelling


    ~

        Home Medications

         
              Last ReConciléd 11/28/18 by Danielle B Weigel
                                    '



        No Known Home Meds



         HPI                                              '
                                                                  L

        O,S/P hernia repair (11/2/18):
        Details: 57year-old male that is postoperative frombilateral inguinal hernia repair.. He denies any
                                                                                 he did haye a little bit of
        complaints today. He did feel a pop in the left side about a week ago
        tenderness there  but that is better.   He denies any bulge or other sign of recurrence. He denies any
                                              "   '           '
                                                                                            '




        pain currently.                                                                                      /

         SWS'PostOp Exam
        EXam                                --                            .,




        The incisions'are healing nicely. The testicles are descended bilaterally. There is no evidence of          *



         recurrence.


         Assessment & Plan                                                         _   ..


         Plan              ..

                                                                                         He is doin'g'wellﬁ I
         57-yearold male postoperative from bilateral inguinal herniorrhaphy with'mesh.                        '




         will see him back on a as needed basis.                                                    .




         Page
                                                                          lalni'ii
                 1
                       Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 23 of 48
       5"


     Form    9                                                                                                                BLAUROCK
     For Collhocxse Transfer                                                                            2\L]/
(n




                                                                                            [XI-)                                     Last Name Only
     Worl< Assignment
     Interview Requests
                                                        KA'NSAS DEPARTMENT OF CORRECTIONS                                          86516

                                                                                                                                            Number
                           INMATE REQUEST TO STAFF MEMBER
     T0;Centurion Health Care Provider      Dam- July 9, 2020.
                        (Name and Title of Otucer or Department)
                                                                                     desire assistance. (Be specific)
                              State completely but'in iéiiy the problem on which you
                                                                          I can View
     To. RECORDS CLERK: l'am requesting a time and date in which
     the files relative to a recent double hernia repair procedure performed
                                                                  on requested is
     at a hospital in Hays, KS. In particular, the informati
                                                                                exam.
     name of the surgeon and hospital, date of procedure, followup
                                                            manufacturer thereof.
     date, and emphasis upon the type of mesh usedfand
     Please inform me of the requested appointment for said information
                                                                                     .


                       A'M '                                     A- 2 (2 1 2 5)
      Work Assignment:                                 Laundry.
                                               Unit Assignmeiit:                     Living
                                                                                      Detail or CH. Ofﬁcer:         (   Qt         HLJQZJW},
      Comment:



      Disposition:

                                          '
                                                  'Laiifﬁ't'ifgfgi'éﬁaﬁiﬁiihliitiﬁéli




      T02.
                 '

                       '2) (Q       LJ/OC/L                QC!)   SZQ                                                    Date:       '7 "   1;" 20
                                '



                                    (Name & Number)



       Disposition:     L} 2 (f 50' H0125))Wﬂilfij fﬂWK                                                                 N" Z7~ M         Og//OAJ'
                                                                                                                                   90'2th may
                                                 r°(in; w/ilVgaLa/IC
                                              d't'
                                                                                                                   W    M
                           '




                 Hg)        (m
                               Cah nlhp kca .                                                                           [HA   ..


                                                                               ibLi ﬁQﬂ

       P-0009
             4 (/
            \AKSUV

                               q/owCUCL/p
                          VEmployee'A/
                                    s SlgnatmteKL


                                              P
                                                           IVE?
                                                            '
                                                                           ""


                                                                           '
                                                                               /
                                                                                      '
                                                                                                                                   To be returned to inmate.
            Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 24 of 48


r,
-




                                                                          August 19th, 2020

     To. Hays Med. Records Clerk
         and/or Legal Department


     Re. Second requeSt for rerease of the full name of Dr. Cunningham
         and the (type) of hernia mesh, and the manufacturer of said
                                         I




           hernia   mesh   that   was   installed inside             me     in November 2018.

     Sir   or Madam,.
         This is my second simple request that you release to me the
     informations asked for in the above mention.
          I'am asking that your offices furnish to me the informations
     Without me enactment of an HIPPA Complaint Authorization For
     Release of Patient Information pursuant to 45 C.F.R. 164.508
         The next request will come in the form of a K.S.A. 60-513
     Tort Claim and Court Order. Again, at this moment, my only concern
     is the type of mesh, i.e. specific name and manufacture thereof.
     It is my best hope not to involve Hays Med- nor Dr. Cunningham as
     defendants. However, subpoena as expert witness on my behalf may
     become necessary. I would hope not to involve a Medical Screening
     Panel or Medical Review Board.
         Please respond/reply with the requested information within lO
     days of receipt of this communication.

                                                                THANK YOU
                                                                Robert D. Blaurock
                                                                #   86516
                                                                Norton Correctional Facility
                                                                P.O. Box 546
                                                                Norton, Kansas 67654
                                                                (785)-8773389 Fac. Tele.


                                             '
                                                 la1.n t       s Exhlbi
                                                                 "f           (wl)   Do   iyk




                                                           1
     Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 25 of 48



                            CERTFICATE OF SERVICE
    This is to certify that on this 19th/day of August 2020, I
forwarded to the Medical Records Clerk and/or Legal Department,
Hays Med. The University of Kansas Health System, 1 original
                                                               and
1 copy of the foregoing Request for Release of NON-
                                                    PRIVILEGED
Medical Information, through the U. S. Mail/Postal Service, first
class, postage prepaid.
Records   Clerk, and/or
Legal Department
Hays Med.
The University of Kansas Health System
2220 Canterbury Drive
Hays, Kansas 67601
(855)-4297633


                                                         WQW
                                                         Robert D. Blagfock
                                                         #   86516
                                                         Norton Correctional Facility
                                                         P.O. Box 546
                                                         Norton, Kansas 67654
                                                          (785)877-3389   Facility Tele.




Sworn to   before   me on        this 19th           day of August 2020.

             /
                         _
 '======?éw      ZWuor                   my    commission expires on...
NOTARY ﬁDUBTj/
          EC
                          2                BACKM'A N
                          m JUSTIN CHARLES
                                    Notary Pgblic State of Kansas
                            __



                                                 -




                                 My Appt.
                                          Expirc'es
                                                     .

                                                      [4:29'4   J
                                                                1
                                         Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 26 of 48                                                                                                                           ,



                     :                                                        (Complete Oné Request Per F'érrn)'                                                                                                                           /':"V   ér//
 '3 k   "*3"?                              «if   -'       a   [ﬁttach letter and addressed/stamped envelope when required
      Robe rt E) Biauroc'tr                                                             .
                                                                                                86516'                                                  NCF               A-2 (2248)                                     5/19/2620
                                    Printed Name                                                                      Numbel                            Facil                 Unit/Cell Location
                                                                                                                                                                                                                             "   Date
                                                                                            '


  Please pay the following and charge to my account:
                                                              OutqoincLFundslDonations

                                                                                                                                                                                               Title of Publication
                                    Payable To:                                                                                                                                       Frequency (Circle One) 




                                                              Name
                                                                                                                                                                  Yearly Monthly Weekly Daily Other
                                                                                                                                                                  Number ofvl'seues
           l
                   Check Amount                               Address                                                                                             Expiration Date
                                                                                                                                                                  Publication Price

                                                              City, State, Zip                                                                                                        *Book, Magazine or News Paper
                                                                                                                                                                                          (Per IMPP 11-101)
                                                              Purpose/Inmate Beneﬁt Fund Group
                                                                                                                                                                              Community ldentlf cation
               [3| request               the use Of Forced Savings as provided in lMPP 04-103. for:                                                        .                  Civil Filing, Transcript or Subpoena Fees
                                                                                                                                                                          Reentry into the Community (Warden's Approval Required)

                                                                        (Documentation Required)
        (To Be C_°mpleted by
             Mallroom)
                                                                      \~\
                                                                                ,   /                         .Postage -(To Be Completed by Inmate)
                                                                                                                                Bays Med.
                                                                                     Postage                                                      To:     Ehe      Universifv of Kansas Health                                                      33752
          \
                                                                      If"           X                                                                   Name'
                                                                                                                                                                                                                     '

            2:"
  $       e...) L.)                                                                                       .

                                                                                     Legal/Official Postage
                                                                                                              .
                                                                                                                                                        2220 Canterbursr Di: 1re                                 a



               Postage Amount                                     .                   (Per K.A.R. 4442-501)                                             Address
                                                                                                                                                                                                 ,




                         '                                                           Certified
                                                                                                                                  '




                                                                                                                                                        Hays? Kansas 57681
 L Chi-«um                    .                                                      (Only if Funds Available)                                          City, State, Zip
                    Venfl         d By
                                                                                                                                                        Lava}. Document Ersncéoged
                                                                                                                                                   'Reason                                                                       1/


 fps/WIEOR
  Inmate            Signature"
                                     Wt                                         8/19/2029
                                                                                    Date          -
                                                                                                                         '
                                                                                                                                              /
                                                                                                                               Unit Team Approval
                                                                                                                                                               /"';   '           0

                                                                                                                                                                                  .
                                                                                                                                                                                        -""=    .I'..-'/
                                                                                                                                                                                                                 Date


  Handicraft Approval (If Applicable)                                               Date              '

                                                                                                                               Religious Approval (If Applicable)                                                Date


                                                                                                                                          Applies to Outgoing Funds Limit
               '                                                                                                                          Does Not Apply to Outgoing Funds Limit
                                                      '

  Exception Approval
                                                                            -

                                                                                    Date                                                  Use of Forced Savings Approval as requested above


  This withdrawal request is being returned for the following reason(s):
               Insufﬁcient Funds                                                                                                                        Payee Missing
llllll




                                                                                                                                             lllll




               Signature Missing                                                                                                                        Insufﬁcient Address
               Exceeds Spending Limit                                                                                                                   Amount Missing
                                                                                                                                                                                                         '



               Incentive Level                                                                                                                          Name/Number Do Not Match
                                                                                                                                                                              -




               Envelope/Order/Stamp Missing                                                                                                             lllegible Information
               Unauthorized Per lMPP/KAR                          '
                                                                                                                                                        Other


      Dist. White   Accounting
                     -
                                                                                                                                                                                                                         ,   I

              Canary Other                                    x                                                              >\
                                                                                                                                      [/9
                          -




                                                                  , (I A",                                                            , 5"? U //::1                                                  '


                                                                                                                                                                          '


                                                              Acééuri't'PFocessor                                                         Date WithdravVn                                      Acct. Use

  Effective 07-02-10                        White Copy CIB; Yellovv Copy Business Ofﬁce; Pink Copy Inmate.
                                                                        -                                                                                            -




                                                                                                              Bkaﬁmﬁhﬁﬁkmﬂﬁﬁﬁﬂ
                                        Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 27 of 48
     e}   have                          .5
                                                                  (Complete One Request Per Form)                                                                                                                         -
                                                                                                                                                                                                                                                                                      /'
               ._
                        ;_
                                              "*mA'ttach letter and addressed/stamped envelope when required
      {raider t: D.                     Blaurock                                                             86516
                                                                                                                                             '



                                                                                                                                                                              NCF                                    (2248)                              09/03/2020
                                 Printed Name                                                                                  NumbeI                                         Facility               Unit/Cell Location
                                                                                                                                                                                                                                                         1'

                                                                                                                                                                                                                                                                    Date
                                                                                                     _




  Please pay the following and charge to my account:                                                                                                      1
                                                                                                                                                                                                            '

                                                            Outqoinq Funds/Donations

                                                                                                                                                                                                                                  Title of Publication
                                 Payable To;                                                                                                                                                                    Frequency (Circle One)    -




                                                            Name
                                                                                                                                                                                             Yearly Monthly Weekly Daily Other
  5                 5
                                                                                                                                                                                             Number of'ls_sues                                                                             t       I


                    Check Amount                            Address
                                                                                                                                                                                             Expiration Date
                                                                                                                                                                                             Publication Price                                                                             I!      $-

                                                                                                         '
                                                            City, State, Zip                                                                                                                                    *Book, Magazine or News Paper                                                  \
                                                                                                                                                                                                                          (Per IMPP 11101)
                                                            Purpose/Inmate Beneﬁt Fund Group

          [:]I                 request the use of Forced Savings as provided
                                                    ,,,..
                                                                                                                              In   IMPP O4- 103 for:                               .
                                                                                                                                                                                                     CommunIty IdentIt' cation
                                                                                                                                                                                                     Civil Filing, Transcript or Subpoena Fees
                                                                                                                                                                                                     Reentry into the Community (Warden's Approval Required)

                                                                      (Documentation Required)


                                                                      \ '/
      (To Be Completed by                                                                                             '
                                                                                                                                             '
      '
                                                                                                                          p ostage                   -
                                                                                                                                                         ( To_   Be Com P Ieted b y Inmate )
           Mailroom)                                                                                                                                                                   .




                                                                     /'
                                                                       /\                     \\
                                                                                                Postage                                                           To;
                                                                                                                                                                           Name
                                                                                                                                                                               Phi.'ilias County Bospital

 $                      L?                                                                     Legal/Official Postage                                                          1            0 S      tate                 S       treet
          Postage Amount                                         .                              (Per K.A.R. 4442-501)                                                     Address

                                                                                                                                                                          Ph1llipsburg
                                                                                                                                                                             11                                                       tenses
                                                                                                                                                 '




                             Z9?2
                                                                                               Certiﬁed
                                                                                              "(dayIr'FL'n'a's'1rtaiIssi'e7'
                                                                                                                                             "   "r"
                                                                                                                                                              ""'"""'c:ty, State Zip
                                                                                                                                                                                                                 '                       '   67'661  "                            '
                        VeriﬁedBy
                                                                                                                                                                          Legal Document Encloose ed
                                                                                                                                                                          -



                                                                                                                                                                      "
                                                                                                                                                                          Reason


                                                                                                                                                                                                                                   K. 7
                                                                                                                                                                                                                                                ..            ,1"    ~




                                                                                                                                                                                                                                  »                  .,--"<.:~1(<:
                                                                                          09/03/2020                                                 J
                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                         '1   1
                                                                                                                                     .
                                                                                                                                                                                                                     <1

                                                                     /'
                                                                                                                                                                                                                              .
 Inmaté Signature
                                        (                                         V
                                                                                              Date            -
                                                                                                                                                 Unit Team Approval                                                                           Date


 Handicraft Approval (If Applicable)                                                          Date
                                                                                                                  '

                                                                                                                                                 Religious Approval (If Applicable)                                                           Date
                                                                                      _




                                                                                                                                                     Applies to Outgoing Funds Limit
           ,

                                                '            '
                                                                                                                                                     Does Not Apply to Outgoing Funds Limit
 Exception Approval
                                                                              -

                                                                                              Date                                                   Use of Forced Savings Approval as requested above


 I'his withdrawal request is being returned for the following reason(s):

          Insufﬁcient Funds
llllll.




                                                                                                                                                                          Payee Missing
                                                                                                                                                              lllll




          Signature Missing                                                                                                                                               Insufﬁcient Address
          Exceeds Spending Limit                                                                                                                                          Amount'Missing
          Incentive Level                                                                                                                                                 Name/Number Do Not Match
          Envelope/Order/Stamp Missing                                                                                                                                    lllegible lnfonnation
          Unauthorized Per IMPP/KAR
                                                                                          '

                                                                          .
                                                                                                                                                                          Other


  DisL White Accounting  -                                                                                                                                                                                                              r/f'r
          Canary-Other
                                    .
                                                                                                                                         -
                                                                                                                                                 ?/¥7///:2'0                                            .

                                                                                                                                                                                                                     KO                         742
                                                       Account Processor                                                                             Date Withdrawn                                                               Acct. Use

 Effective 07-02-10                          White Copy Cl B; Yellow Copy Business Ofﬁce; Pink Copy Inmate.
                                                                      -                                                                                                                         -




                                                                                          "Pkgﬁntelﬁﬁ'asrstﬁ'ﬂhﬁﬁﬁﬁ                                                                        sea
                  Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 28 of 48
(O                                                 Eﬁ'ﬁﬁéiﬁBT-iﬁﬁ




                                                                                                 Sept. 03, 2020

          To.   Phillips County Hospital
                            .1,
                Records C1e1m,  and/or.
                                                                                                          E:
                                                                                                               FAXEQ
                Dr. Cunningham.                                                                                    "   -                E;
                                                                                                                                        xE
                                                                                                                           2'      i!
                                                                                                                                        D
          Re. Patient Robert D. Blaurock                                                                      BY

          Procedure: Double Hernia Surgery, mesh installed.
          Date of Operation at the Hays Med. University of Kansas Health
          System... November           ,   2018.
          Physician: Dr.              Cunningham.

         'Sir   or Madam,
              I'am seeking information pertaining to type of hernia/
          surgical mesh used during my double hernia repair in Nov. 2018,
                                                " and " manufacture of said
          with emphasis upon " name of the mesh
                   ll
          mesh.
               I would ask that you provide me directly with the requested
          information without the need of court order or an HIPPA form.
               Problem Is: The hernia mesh has torn away completely in the
          left side lower pelvic area and a revision surgery is necessary.
              Here, I would rather ask Dr. Cunningham to be witness,
          instead of a named defendant in a K.S.A. 60513 Tort Claim.                                                           It is
          well established fact that hernia mesh is unreliable when certain
     '




          brands are used. I would appreciate a quick response within
          10-days of receipt of this request.
                                               SERVICE.
                                      CERTIFICATE      OF
              This is to certify that on this grd day of September 2020, I
          forwarded a copy of the release of medical information request to
          the Phillips County Hospital Records Clerk, in care of Dr.
          Cunningham.
          Phillips County Hospital                             <2%%W5%Z(1253£2324£aﬂﬁ*573
          Records Clerk                         Robert D. Blaurock, # 86516
          1150 State Street
          Philli p sbur g, Kansas 676 6 1       Norton C.F. P.O. Box 546
                                                Norton, Kansas 67654
          Sworn to before me on this date of Sept. 03, 2020.

          (lgyx
          Nﬁtary Gublic
                         )rVQQP
                                                   \




                                                            _               JERRY TOLLE
                                                                       Néta ry Public   -




                                                                    My Appt. Explres'xgl
                                                                                            State of Kan $85

                                                                                                $1   -   my
                  Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 29 of 48


(a
                          PO. Box 791522                                                                         Billing Date:   8/25/2020
           "gigggﬁg
                          BaItImCre. MD 21279-1522                                                                 Due Date      9/24/2020
                                                                                                                Amount Due       $5.85
       .
                          770) 569-2445
     ScanSTAT
                      _



     TECHNOLOGIES
                                                                                                                    Invoice #:   4193853185EA41F6ACSF

     Billing Address                                    [Patient Information                                   Shipping Address
     NORTON CORRECTIONAL FACILITY                        NAME: ROBERT BLAUROCK                                 NORTON CORRECTIONAL FACILITY
     POST OFFICE BOX 546                                MRN: M0003Q4962                                        POST OFFICE BOX 546                        c:-
     NORTON, KS 67654                                    REQUEST    ID:                                        NORTON. KS 67654                           ..




     MEDICAL RECORD SOURCE
                                             Records were ordered from:            Hays Medical Center Ks + + 004 Rb
                                                                                                          -



                                                                                   2220 CANTERBURY DRIVE
                                                                                   HAYS, KS 67601


     QUANTITY                 ITEM DESCRIPTION                                                                UNIT PRICE                 TOTAL

           10                 Duplication Fee 1-10                                                               $0.25                         $2.50
            3                 Duplication Fee 11-160                                                             $0.15                         $0.45

                              Subtotal                                                                                                         $2.95
                              Shipping .                                                                                                       $2.90
                                                                                                                                         n.


                              AMOUNT DUE                                                                                                       $5.85




                                                               Ella       n41;   irﬁf"        xhrlab-i1t A"


                                                            IMPORTANT NOTICE:
                             In   most cases the invoice amount is determined and controlled by your states legislated rates.
                                   Please pay within 30 days. Othenivise, it is our policy to defer to a collection agency.




           These records were processed by a ScanSTAT professional. All of our professionals
             work hard to process your records quickly, securely and accurately. On behalf
             of all our employees, affiliates and their families, thanks for paying promptly.
                                                  PLEASE RETAIN THIS PORTION FOR YOUR RECORDS


                                                                                     1) Please send payments only to the address listed on this invoice
     PLEASE RETURN THIS STUB WITH YOUR PAYMENT                                       2) Please DO NOT SEND CASH.
                                                                                     3) Pay by check, credit card or money o_rder.
                                                                                     4) Please pay the total amount due listed on this invoice.
                                                                                         For questions regarding your account or invoice
     NORTON CORRECTIONAL FACILITY                                                                         770 569-2445
     POST OFFICE BOX 546                                                                       Email custservice@ScanSTAT.com
                                                                                                     



     NORTON, KS 67654                                                                            Federal Tax ID#: XX-XXXXXXX

     We accept credit card payments by phone
     or online by visiting www.scanstat.com                                                               Billing Date: 8/25/2020
                                                                                                            Due Date: 9/24/2020
                                                                                                         Amount Due: $5.85
                                                                                                           Invoice #: 419385B1S5EA41F6A09F

     ScanSTAT Technologies                                                         (MUST SUBMIT BARCODE BELOW WITH PAYMENT)
     P.O. Box/791522
     Baltimore. MD 21279-1522

                                                                                                              4193858185EA41F6ACQF
                       Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 30 of 48
          3*




5       Form 9
        For Cellhouse Transfer
                                                                                                                             BLAUROCK
                                                                                                                                         Last Name Only
        Work Assignment
        Interview Requests

                                                    KANSAS DEPARTMENT OF CORRECTIONS
                                                                                                                              86516
                                                                                                                                             Number
                                 INMATE REQUEST TO STAFF MEMBER
        1b;    Inmate Truct Funds Accountant      DME,   09/04/2020
                       (Name and Title of Ofﬁcer or Department)
                             State completely but brieﬂy the problem on which you desire assistance. (Be speciﬁc.)

             I'am requesting that the amount of $_5.85 be deducted from my
         inmate trust fund for payment due, inregards to ordering of medical
    "
         records from Hays Med. Please make the check payable to ScanSTAT                                                                                  7




                                                                           Invoice
         Technologies, P.0. Box 791522, Baltimore, MD. 21279-1522. Billing
         attached. Please use the S.A.S.E. for mailing"purposes. THANK you_
         A.W.R. Form also attaChEd- Billing Invoice No. 419385B185EA41F6AC9F      Pﬁ

        Work Assignment:             A   . M .   LaundrV                          Living Unit Assignment:            A 2
                                                                                                                      
                                                                                                                             ( 2 2 4 8)

        Comment:                                                                   Detail or CH. Ofﬁcer:             ('42)   [F6 9? Q/
                                                                                                                                    i"




        Disposition:




                                                      éﬂﬁiﬁni'e                  whiiwﬁiif


                                                                                                                          Date: A
        To:
                                 (Name & Number)



        Disposition:




                                                                                                                               To be returned to inmate.
                            Employee's Signature
         P0009
                                      Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 31 of 48
                                                                        (Complete one Request Per Form)


                   '9
                                                        Attach letter and addressed/stamped envelope when required                                                                                                           '




     Robert D. Blaurock                                                                             86516                                       -vaF?                  A:2 (2248)                         09/07/2020
                                                                                                                                                                                                           "
'


                             Printed Name                                                                            Numbel                          F'acilitv'            Unit/Cell Location                       Date
    Please pay the following and charge to my account:                                                                                                                       '
                                                        Outqoinq Funds/Donations

                                                                                                                                                                                       Title of Publication
                                                            ScanSTAT Technologies
                         '



                             Payable To:                                                                                                                                         Frequencv LCircle One)
                                                        Name                             -                                     '


                                                                                                                                                               Yearly Monthly Weekly Daily Other
    5    5,85                                               P       0.,Box 791522                                                                                 Number oflslsues
              Check Amount                              Address
                                                  _.
                                                                                                                                                                  Bpiration Date
                                          (




                                                       Baltimore. MD.-21279-1522     '
                                                                                                                                                                  Publication Pn'ce
                                                        City, State, Zip
                                                                                                                                                                                 *Book, Magazine or News Paper
                                                            Medical Records Fee                                                                                                      (Per lMPP 11-101)
                                                        Purpose/Inmate Beneﬁt Fundy Group
                                                                                                                                                                       Communityidentiﬁcation
          |::]l request the use of Forced Savings as provided                                                    in   lMPP 04-103, for:                 .              Civil Filing. Transcript or Subpoena Fees
                                                                                                                                                                       Reentry into the Community (Warden's Approval Required)
                                                                        (Documentation Required)
                                                  '



         (To Be Completed by
                                                                                                                           '

                                                                                                             Postage               -
                                                                                                                                       ( To   Be Com p leted b y inmate )
              Mailroom)

                                                                                    Postage                                                   To:
                                                                                             _
                                                                                                                                                    Name
                                                                                                         .                                                                               »                                       E1"
    $'                                                                              Legal/Ofﬁcual Postage
          Postage Amount                                        .                    (Per        KAR. 4442-501)                                     Address

                                                                                    Certiﬁed
                                                                                    (Only if Funds Available)                           '
                                                                                                                                                    City. State, Zip
               Veriﬁed By

                                                                                                                                                    Reason


                        .13" G},                  -4                                     090 /2020
    nmate Sigtunae            [                                                 Date                                           Unit Team Approval                                                 Date


    landicraft Approval (if Applicable)                                         Date                 '


                                                                                                                               Religious Approval (if Applicable)                                 Date


                                                                                                                                   Applies to Outgoing Funds Limit
          ,
                                              '         '
                                                                                                                                   Does Not Apply to Outgoing Funds Limit
    b<ception Approval
                                                                        '
                                                                                Date                                               Use of Forced Savings Approval as requested above


    'his withdrawal request is__being returned for the following
                                  -
                                                                 reason(s):
          insufﬁcient Funds                                                     .
                                                                                                                                                    Payee Missing
          Signature Missing                                                                                                                         lnsufﬁcient Address
llllll




          Exceeds Spending Limit                                                                                                                    Amount Missing
          Incentive Level                                                                                                                           Name/Number Do Not Match
                                                                                                                                                                       -


          Envelope/Order/Stamp Missing                                                                           .
                                                                                                                                                    Illegible lnfonnation
          Unauthorized Per lMPP/KAR                                         ,
                                                                                                                                                    Other

    DlsL White Accounting
               -



         Canary other
                   -




                                                       Account Processor                                                           Date Withdrawn                                     Acct Use

    fective 07-02-10                   White Copy ClB; Yellow Copy Business
                                                                            Ofﬁce; Pink Copy Inmate.
                                                                    -                                        -                                                     -




                                                                                                  Fﬁlﬁ'tﬁti'efﬁfﬁ'semﬂxheinbiwt
                                                                                                                                                            my
                   Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 32 of 48


      '9-
lg'



                                                                  Sept. O4, 2020
             To. Brandon S. Cunningham,      MD.
                 Southwiné Surgical

             Re.   Bilateral Inguinal Hernia (double)     lower   left   &   right pelvic
             Patient: Robert D. Blaurock
             Procedure Date: November 02, 2018.
             Hospital:      Hays Medical Center

             Dr. Cunningham,
                 I'am contacting you directly in order to seek your assistance
             and cooperation in a probable K.S.A. 60%513 Tort Claim against
             nhe mesh manufacture DAVOL, type of mesh (plug) Marlin Perfix Mesh.
             A revision surgical procedure has become necessary. The entire
             lower left side pelvic\area mesh is torn loose. The right side
            »mesh remains intact.
                 Prior to agreeing to the 11/02/18 procedure, you assured me
               '




             that you were installing a type of mesh that would not tear out
             or cause other internal damages, such as, intestinal blockage,
             attaching itself to internal organs, internal bleeding, etc.
                 During the November 29, 2018 follow-up consultation, I did
             make it known to you that I felt a pop inside. You did explain to
             me that the area of concern would swell, possibly bleed internally,

             and eventually no longer bulge, sting, and'have the burning
             sensation.
                 In the month of July 2020, during a routine 2year physical
             examination performed by Patricia McCartney-APRN, it was made
             known   that revision surgery is necessary. She did visually
                             a
             examine the lower left side pelvic area. Her comment was " How
             did you    that? " To date I'am unsure if McCartney has informed!
                       do
             K.D.0.C. TOpeka's Chief MD. that revision surgery must be done.
             Of course, it is far too late to wear a suppression belt, it was
             too late for such a device usage after the mesh failure. Now, as
             to when a revision surgery can be scheduled is dependent upon
             the Covid-19...Coronavirus pandemic's ending. No one at K.D.O.C.
             nor myself are willing to take the risk of infection/quarantine.



                                                   1
         Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 33 of 48


In


          Dr. Cunningham, since you have full accessibility to medical
     information, I would ask that you provide to me the address,
     zipcode and\telephone number of the manufacture of said mesh
     DAVOL. Your assistance and cooperation in this matter will tend
     to speed the litigation process.
          Here, and as to the revision surgery, [w]e donlt know what
     went wrong, at least not until the surgeons perform another open
     bilateral inguinal hernia repair. This is where the litigation
     gets messy. A Medical Review Panel and Medical Screening Panel
     must         who is at fault, the mesh manufacture or physicians
           decide
     performing the procedure, i.e. the named defendant's. It is my
     hope that both yourself and Dr.Danielle B. Weigel become expert
                                                   "
     medical witnesses against Bard " Mesh Perfix    Plug, or DAVOL.
          I'd like to give a brief explanation of the symptoms that I'am
     experiencing daily, such as, ( the left hernia gets hard as a rock,
      internally it feels similar to a bandaid being torn offi[sticky];
     pulsating/throbbing sensation; a muscular cramp extending down
      into the inner crease of my left leg; more frequent bathroom trips
      and not being able to per say empty out the bowels & bladder; more
      often than not it interferes with normal body movements).
          Attached is a duplexed copy of a partial medical progress
      note indicating the lot number and serial number of the mesh.
     This may aid you in supplying to me the informations requested.
     Dr. Cunningham,
         Please advise me as to your thoughts and position in this
     matter.
         I certainly do not enjoy the thought of another surgical
     procedure, having the abdomen sliced open, pain, downtime, etc.
     For all of the reasonings stated to herein, is why I believe that
     the mesh manufacture should be held responsible for monetary
     compensation. The mesh should have not torn out.
                                             THANK YOU
                                             Robert D. Blaurock
                                             #   86516
                                             Norton C.F.
                                             P.O. Box 546
                                             Norton, KS. 67654
                         Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 34 of 48
           3.


         Form 9
                                                                                              SEP                            l
                                                                                                                            B aurOck
in




         For Cellhouse Transfer                                                                         (3


                                                                                                                                 Last Name Only
         Work Assignment
         Interview Requests

                                                      KANSAS DEPARTMENT OF CORRECTIONS                                              -




                                                                                         ~


                                                                                                                             86516
                                                                                                                                             Number
                 Centurion H S    INMATE REQUEST TO STAFF MEMBER
         Toz
                                       _


                Ms.Patricia McCartney (APRN)       Dam.   09/12/2020
                         (Name and Title of Ofﬁcer or Department)
                             / State completely but brieﬂy the problem on which you desire assistance. (Be speciﬁc.)



                       Ms. McCartney: During the July 2020, 2- -yr. physical examination
                 Inquiry:
          I informed you that the Nov. 2018 Bilateral Inguinal Hernia Surgical
          procedure had basically failed and that the Bard/Davol Mesh Perfix had
                                                you make notations in my medical file
                                          " did
          torn out. My question to you is
          that a revision procedure would become necessary?" At such time you asked
          me if a hernia belt would relieve the pressure? Such precaution is late.


          Work Assignment:      A   . M .   Laundry                                 Living Unit Assignment:            A 2
                                                                                                                        
                                                                                                                              (   2248   l
         " Comment:                                                                  Detail or CH. Ofﬁcer:        C0? 24a?»

          Disposition:




                                                                 »   -




                                                                                                                        Date:     Q\\\\\?'O
          To:   %\O\\\.'(DCXL <6\06\\O
                                  (Name & Number)
                                                                                                .




     '



          Disposition       excite \iiom (\cii '1\?C>\'zo \xmx Ami:                                                        mm
          \\o\\\ next. wiewmmx only Oniti'qmBQmWWﬁd inubmr \mmiot 02-0an
          Wm        new VS: wiieemx     \Q More Bnimiw \mmmiiee Gama;
                                                                     yKﬁQQK CN3L£O§
           CRKjR-CﬁkklOKQXVVXWEJ\0X$NM&2 CKX3FCNRKi(N%0\€X82u"wohmd_
                                                                                                                                        '99" Ce"
         News in whim                                  ix WNW§$                                              '

                                                                                                                                  T0\be returned to inmate.
                              Employee's Signaiﬁr e
          P- 0009
       Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 35 of 48



                                                         September 12, 2020

To. Bard Davol Inc.
      100   Crossing.Blvd.
    Warwick, R.I. 02886
    1-8007556-6275
Attn. Records Dept. and/or
      Legal Dept.
                                Probable Letter of Intent

Sir  or Madam,
     On or about the date of November 02, 2018, at the HaysMed.

University of Kansas Health System Hospital, 2500 Canterbury DR.,
Suite 202, Hays, Kansas 67601, (Southwind Surgical), I underwent
a double Bilateral Inguinal Hernia Procedure. Such surgery was
performed by Dr.Brandon S. Cunningham, M.D. and assisting surgeon
Dr.Alaina     D.   Dressler,   and   surgical hernia   mesh was   installed,
    The type, manufacture, and serial number of Said mesh are
identified as: (1) Bard Mesh Perfix Plug(Marlin), REF 0112780,
LOT HUBX 1127, use by date of 10/28/22, and (2) Bard Mesh Perfix
Plug(Marlin), REF 112780, Lot HUCT 2077, use by date 06/28/23.
      My reasoning for contacting your offices is that the left
sidelower abdomen has torn out completely, and a revision surgery
is necessary. There are discissions to be held as to when such
a revision procedure will be scheduled. As you are aware, the
complications resulting from the torn mesh internally isn't
pleasant, and having to endure a second surgery is not pleasant
Veither.
     [W]hen the revision procedure is performed, such will
   "
determine whether the mesh or physician is at err." A second
surgery should not have become necessary and would not be necessary
had it not been due to such err or faulty manufacture. I may soon
be seeking monetary compensation by means of a K.S.A. 60-513 Tort
Action in the Kansas District Court. This letter serves as notice
of intent.
     If you have any input, inquiry, or helpful information, please
contact me at the included address.
                                                THANK YOU
                                                Robert D. Blaurock,     #   86516
              srrxhlb*ﬂ                         Norton Correctional     Facility
                                                P.O. Box 546
                                                Norton, Kansas 67654
                        Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 36 of 48


3            Health Services Request Form

               Print Name (Imprimir nombre)            A'Dépfyﬁ-                   /D_    /Q /(;g
               Date of Request:     0 ,I' I            er'zé'QC'I
               ID #:        SQ; 5/3155                    Date of Birth
                                                                        (Fecha
                                                                               de nacimiento): CI
                                                                                                                                     7//:5Ty/6 (j
               Housing  Location (Ubicacién de la vivienda):   [4          (A      (3/ S")_
                                                                                               '1
               Nature of problem or request (Naturaleza del problemaosoIICItud)
                                                                                   14142304 41):,                                    0755?"!       f/LI?
                   Iaﬁwmcx/ ﬁeffzfgq 7530':        {IVS/6';              7173/3: <1m<12 "I
                                                                         06,475
                   was          rgf earwx'. MIG recom' o."I déOCQ/rﬁé'x?
                                                             07 a? o/32051J- 754:9 T/Wq
                   ,0   T 7""'3     ﬂ/I'I/STCa/l ﬁne/I U'Ifaql QPICIII'II/Iavr-mﬂ                     on5:16!) Jag-{Q
                   .91. 5'4")       FE?U£J7";A£ ﬂaw CACI'I                         VOQII' Orv-16;; 51<FCcI U ﬂaw/"25+
               Iconsent to be treated by health staff for the condition described.
               (Da su consentimiento para ser tratada por el personal de salud para la condicién descrita.)
               I understand thatmy requesting health services does not necessarily mean that agree that should be            I                 I




               assessed a charge for healthcare services. If'l disagree with any charges assessed, understand may                I                                 I


               file a grievance with the Warden as per KAR 44 1'5- 101 et seq. understand that a $2.00 fee will be
                                                                                                         I


               assessed for any sick call visit and any non- emergency visit to health care staff if it is not a followup
               visit or referral.

               (Entiendo que mi solicitud respect de recibir servicios de s5'iud no necesariamente inpIiCa que estoy de
               acuero en que se me cobren cargos por dichos'servicios de salud? Comprendo que, en caso de no
               estar de acuero con el cobro de algdn cargo, puedo presenter un reclamo ante eI Alcalde',: de
               conformidad con las reglamentaciones del KAR 44-15-101 et seq. Tengo entendido que eI'personaI de
               salud cobraré un arancel de $2.00, por cualquier visita a un enfermo o visita que no sea de' ugencia, si
               no se trata de una visita de seguimiento o por una derivacion. )

                                                                                                      @ «54%.? qxﬁéj/jmé
                                                                                                       "(Patient Signature (PaCIen'E'T
                                                                                                                                    eFirma)
                                         Place the slip' In medical request box or designated area.
                                       (Pon este articulo en la caja médica u otra area designada.)
                                    _Do_ not write below _t_h_is_ area. (Noescribe debajode_esta                             area)                  .._..._.__«.._...   '   L



                          (Original   
                                          Medical Record, Yellow Copy               
                                                                                         Inmate/Patient, Pink Copy       
                                                                                                                             Business Office)

                   (The area rbelo Iié'nofbto be used for            couns ngo or documenting a clinical encounter)
                                "MEAA.
                                                                          eIin
                       bv                                 education,            utine   El Urgent        III Emergent
               Triaged
               Date.                  I/ IJ' / k)
               Date of Face-tCI- Face Visit:
                                                               KN
                                                                                ,
                                                                                           Timeg
                                                                                                      '2'"
                                                                                                        k         ('0
                                                           I        It   51   '3
               Other:
                               Response Recommendation (to be completed by Medical Staff only)-_
                                                    I] Dentist
                                                                                     "

               Initial    'urse     III Doctor                   III Eye Doctor    III Mental Health                                               I'_'I   ARNP
                            >13-
               Appointment III Nurse     III Doctor   El Dentist    III Eye Doctor            Health                                               I:I     ARNPF
               FeeCharge
           .'zCf' m     fit       I]$2.00\\
                                                                                   IIIMentaI
                                                                                                                    A.       LE)?                                       \)

              IIJIe'"SPIPIS Q09                                                               '2'")
                                                                                                       hﬂe'             DXQEAL III
                                                                                                                   A                                                    LOW:
      \A><I/' MUL/
                                                                                                                                                                                      I
     //.

    L//\ V
    //        [IStaQf                               Signature}                                               IT

                                                                                                                        II (l/I'U5teﬂ f7)                                             I




                            I                                                                                      LIH [CI/W                                                    PEG
                                                   mgiﬁﬁogma
                                                                                                                                           X?
             Centurion. REC- 013KS
             07/01/2020
                                                                                                                                        centurIon
                               Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 37 of 48

                 Health Services Request Form

                     Print Name (lmprimir nombre): Robert                                                          D Biaurock
                     Date of Request:    lama/2020      naﬂg                                                              ﬁMyzdg n('\/
                     [D #:             8653.6                                                                   Date of                                   de nacimiento):                               07/15/61
                                                                                                                          Birth (Fecha
                     Housing Location (Ubicacion de la vivienda): Am    (2248)
                     Nature of problem orrequest                               Lower Inguinal
                                                 (Naturalezadel problemaosolICItud)
                                                                                                                                                                    Left                                                                                  Maff}
                      Hernia. non--reduceable.                 am requesting that
                                                                             the injurir               I'
                      described be documentedaccordirt'gly as it was not documented
                                   07/20/2020                "id visual_ examination. The                                                                                                                                                                 ﬁaczfft'
             ,
                 '


                     ,durihgﬁ the asset '61 58.8.5 physical'
                         '

                                                                           2 h & ..g.a,wsq;maoets»                                       ,                                                                                                                quJ'f'ﬁft
                      The int                                                            similar                                                      '




                                                     aid
                                                                                                   -
                                                                                          -




                      to a band-      belna removed lWﬁe nalLV. stickix-in nature.                                                                                          '
                     lConsent to be treated by health staff for the conditiondescribed.
                     (Dasu Consentimiento para ser tratada por (91 personal desalud para la condicién descrita. )
                 i    understand that my requesting health services does; not necessarily mean that agree that should be
                     assessed a charge for healthcare services. If i disagree With any charges assessed, understand may
                                                                                                                                                                                                i


                                                                                                                                                                                                         I
                                                                                                                                                                                                                                i


                                                                                                                                                                                                                                               I


                     file a grievance with the Warden as per KAR 44-15-1Q1 et seq. i understand that a $2.00 fee will be
                     assessed for any sick call visit and any non-emergency visit to health care staff if it'Is not a follow- -up
                     visit or referral.

                     (Entiendo que mi solicitud respect de recibir servicios _de salud no necesariamente inplica que estoy de
                     acuero en que se me cobren cargos por dichos servicios de salud. Comprendo que, en caso de no
                     estar de acuero con el cobro de algﬂn cargo, puedo presenter un reclamo ante el Alcalde, de
                     conformidad con las reglamentaciones del KAR 44-15-101. et seq. Tengo entendido que el personal de
                     salud cobrara un arancel de $2. 00, por cualquier visita a un enfermo o visita que no sea de ugencia, si
                     no se trata de una visita de seguimiento o por una d riyacion.)_._.l
                                                                                                                           it;                        '_,               ,




                                                                                                                                                              '0   as,
                                                                                                                                                                   \ﬂJW                                                1'
                                                                                                                                                                                                                                                     ;'
                                                                                                                                                                                                                                                                  ,




                                     (DEW                                                                                                         'ﬁ'aﬁe'nt'Signature                                                          Firma)
                                                                                                                                                                                                    (Paci'e'ﬁté
                                                           Place the slip in medical request'box or designated area.
                                                          (Pon este articulo en la caja mé'izlica'i u otra area designada.)
                                                         Do not write below this area. (Noigescribe debajo de esta area.)

                                     (Original       
                                                         Medical Record, Yellow Copy                                 
                                                                                                                          inmate/Patient, Pink Copy                                
                                                                                                                                                                                        Business Office)

W                            (The area below' Is not to be used for education counseling or documenting                                                                               a clinical encounter)
                     Triaged         by.        7x
                                                     \_L_,'L    vif/                      Vu/KJ                             ;:               Routine                            El Urgent        El Emergent
                     Date:      / iO/d'i N),,
                                                                                                                            Time:                         ("ﬂ/,t)
                                                                                                                                                          7

                     Date of Face-to- Face Visit.                                     {
                                                                                              i
                                                                                                  "AL/41;:
                                                                                      '            '
                     Other:
                                                   Response Recommendation (to be completed by Medical Staff only)
                     initial         wJSlurse           III Doctor   III Dentist .: "rye D0ctor   IE Mental Health                                                                                                                      El ARNP
                                                                                                   a
                                 .
                                                                   I
                                                                               "
                                                                 a
                                                                                 __




                     Appointment                1] Nurse
                                                                     w"
                                                                          o,                              tal Health                                                                                                                    1]    ARNP
                                                                                                                         saga'm's                         N
                                                                                                            '


                     Fee Charge                 El   32 00
                                                                             "
                                                                                                                                                                                                                 ..:.,~.-...   
                                                                                                                                                                                                                                        «I;

                                                                                                                 A                                                  r
                 LrsvxiedAL.aswpLjuLLﬂ
                     Co     n
                                                                                                                                             ,3                                        .1;          ,

                                                                                                                                                                                                                  i    \U               Q
                  "if/'4."
            .../'"/"       A\\
                             ,-/r1\             L/i \ ,StafﬁSIgnaure}
                                                                     H                                                               .
                                                                                                                                              ,
                                                                                                                                                  .
                                                                                                                                                                                        .           -     rﬁx                  A "Oh/'1
    C
        .
                                                                                                                                 '
                                                                                                                                                                                   '

                                                                                                                                                                                        i1
                                                                                                                                                                                            i
                                                                                                                                                                                                        )Drﬁ'é
                                                                                                                                                                                                         I
                                                                                                                                                                                                                               04(ijL                )
                                                                                                                                                                                                                                    .




                                                                         alnﬁ                           £0 8         Ewh;tﬂt



             Centurion: REC- 013KS                                       '


             07/01/2020                                                                                                                                                                                      ,
                                                                                                                                                                                                                       centurion..
          Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 38 of 48




 ca an n
KDOC Adult Facilities
Elﬁoradb*£"ceﬁtré¥


PATIENT:                                             ROBERT    D     BLAUROCK
DATE OF BIRTH:                                       07/15/1961
DOC #:                                               86516
DATE:                                                04/14/2021 1:18 PM

                                                     Kitchen Clearance

Food Service Screening
Cuts noted on hands, arms, face, or neck?                                             No
Open sores noted on hands, arms, face, or neck?                                       No
Rash noted on hands, arms, face, or neck?                                             No
Recent diarrhea, loose or watery stools?                                              No
Recent nausea and/or vomiting?                                                        No
Recent abdominal cramping?                                                            No

The patient has been examined by health care staff.                                   Yes
The patient has no history or current complaints of contagious diseases.              Yes

Patient Information
Patient has been informed of the need for the following:


Proper hand washing prior to handling food and after using the restroom.              Yes
Not to handle food while sick                                                         Yes
Notify dietary services shift supervisor of any illness.                              Yes
When ill, submit a sick call slip for medical evaluation.                             Yes
Screening for kitchen clearance will be performed annually.                           Yes

Clearance
Patient is cleared for kitchen duty:                                                  No
Date: 04/14/2021 Time: 1:24 PM         By: Candace Heinz, RN

Additional Comments: DUE TO MEDICAL REASONS AT THIS TIME PER MOTTER APRN NOT CLEARED FOR FOOD
SERVICE JOB.

Clearance History
Date          Time        Clearance By                   Clearance    Denial Reason
10/13/2020 3:06 PM        Sharon Smothers, RN            Yes


Document generated by: C Heinz, RN 04I14I2021 01:25 PM


                                         Etiimﬁiﬁifﬁiﬁ                 '@
                 Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 39 of 48

Health Services Request FOrm
                                                                                                                                                      For Medical Use Only
                                                                                                                                                      Sélo para uso médico
                                                                                                                                                Date Received:
                                                                                                                                                Time Received:

 Print Name (lmprimir nombre):                                  R'\l¢'3r                   l
                                                                                                       t
                                                                                                            '1
                                                                                                           .f    I
                                                                                                                              {:1.)                k   ('0
 Date of Request:                           I



                                                                                                                                                                                    \        '
 lD#:                                           Date of Birth (Fecha de nacimiento):                                                                                            I




 Housing Location  (Ubicacion  de la    vivienda):                     .r7 \                                 I



 Nature of
           problem
                    or request (Naturaleza del               o solicitud):                                                                                      ﬁg)
                                   .1,-          I
                                                                             ll\       l
                                                                                               LL?
                                                             "AC/J
                                                         \
            r
            V.
                                        1
                                                     J
                                                     F
                                                                     I             7                                     ..
                                                                                                                                       l'
                                                                                                                                                                            i
                                                                                                                                                                                    I' L'I. <             1-\
        I
 _ ._

            i~\                                               -
                                                                                               _
                                                                                                                                   f
                                                                                                                                            1
                                                                                                                                            I
                                                                                                                                                                                                 9:
                                                                                                                                                                      i



 I consent to be treated by health staff for the condItIon descrIbed
 (Da su consentImIento para ser tratada por el personal de salud para la condICIon descrIta )
 I understand that my requestIng health serVIces does not necessarIly mean that agree that should be                                                            i                            i



 assessed a charge for healthcare serVIces. If dIsagree WIth any charges assessed understand may
                                                                         I                                                                                            I                               I



 ﬁle a grievance with the Warden as per KAR 4415- 101 et seq. understand that a $2.00 fee will be                             I



 assessed for any sick call visit and any non- emergency visit to health care staff if it is not a follow-up
 visit or referral.

 (EntIendo que mI solIcItud respect de reCIbIr serVICIos de salud no necesarIamente InplIca que estoy de
 acuero en que se me cobren cargos por dIchos serVICIos de salud Comprendo que en caso de no
 estar de acuero con el cobro de algun cargo, puedo presenter un reclamo ante el Alcalde, de
 c0nformidad con las reglamentaciones del KAR 44- 15 101 et seq. Tengo entendido que el personal de
 salud cobrara un arancel de $2.00 por cualquier IIIsIta a un enfermo o vIsIta que no sea de          SI
                                                                                             ugenoIa
 no se trata de una visita de seguimiento o por una derivacion. )
                                                                                                                                                                                        'I
                                                                                                                     \                                  I
                                                                                                                                                                      g
                                                                                                                                                                            /            \
                                                                                                                              -'§'        f.              i

                                                                                                                              Patient Signature (Paciénte Firma)

                                 Place the slIp In medIcal request box or deSIgnated area
                                (Pon este artIculo en la caja medIca u otra area deSIgnada )
                               Do not erte below thIs area (No escrIbe debajo de esta area                                                                            )


                   (OrIgInal   MedIcal Record Yellow Copy                              .nmate/Patlent PInk Copy                                                 Busmess Ofﬁce)

     (The area below            Is not to   be used for educatIon counselIng or documentIng a clInIcal encounter)
 TrIaged by                                                             El RoutIne    El Urgent        El Emergent
 Date.                                                             TIme
 Date of Faceto- Face Visit:                                                                      ,



 Other.
                                                                                                                                                            1




                 Response Recommendation (to be completed by Medical Staff only)
 lnItIal  El Nurse   El Doctor      III Dentist    III Eye Doctor   [I Mental Health                                                                                                             El ARNP
 Appomtment 1] Nurse     III Doctor    III DentIst    El Eye Doctor [I Mental Health                                                                                                             El ARNP
 Fee Charge D$2 00
 Comments


                                     Staff SIgnature                                                                                                                      Date


                                                Hfn't'if5qu S                                               or!



                                                                                                                                                                                     V
                                                                               132;:               lﬁb 1'
                                                                                                                                                                                        Kg?"

Centurion: REC-013KS                                                                                                                                                                                       a
07/01 /2020                                                                                                                                                                     eenéuﬁen.,
               Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 40 of 48

t   Health SérVices Request-52Fo_jri




                                                                                                                       ,v-\
                                                                                                                             '»
                                                                                                                                            Medical Use
                                                                                                                                                  Only
                                                                                                                             "VL/F'or
                                                                                                                                  Sélo para uso médico
                                                                                                                                 Date Received:              "Iii/I(ff
                                                                                                                                 Time Received.         {jQLiE/'I

     Print Name (Imprimlr nombre)    £059.!"7" K1,}?                                                           IS/IIIIFI; < 2/
     Date of                  323/51?)
     ID #:   Regestf5                     {g5 /Z/
                                       Date of Birth (Fecha de                                                               f) "7/7/5-                                          I
                                                                                                              (a
                                                            .




     Housing Location (Ubicacién de la vivienda):                                                WDI                      '2} (:0
                                                                                                                          nacimiﬁnto):
                                                                                                                                 "
     Nature of problem or request (Naturaleza del problema                                            o   solicitud).
                                                                                                                                 DE":           ah VILQFQ
          50 me how                               and                "PO-C"    LKﬂVan awn ('Q 0! 5&0;                                       "I'm, Eatfom
         Luht'l 02.5%: CNN"                        I                     hate»        LKSQDQQCRCQ/ak
                                                                                                                                 {mm "Ina             comI'JIAI-QI'I
         fgutc: Iq                        EJIaIIué             name                  Paine:                          man
     |consent to be treated by health staff for the condition described.
    "(Da su consentimiento para ser tratada por el personal de salud para la condicién descrita. )
     Iunderstand that my requesting health services dOesv not necessarily mean that agree that should be                                    I                  I



     assessed a charge for healthcare services. If disagree with any charges assessed, understand may
                                                                                      I                                                           I                      I



     ﬁle a grievance with the Warden as per KAR'44 15- 101 et seq. understand that a $2.00 fee will be          I



     assessed for any sick call visit and any non'iemergency visit to health care staff if it IS not a followup
    visit      or referral.

     (Entiendo que mi solicitud respect de recibir servicios de salud no necesariamente inplica que estoy de
     acuero en que se me cobren cargos por dichos servicios de salud. Cdmprendo que, en' caso de no
     estar de acuero con el cobro de aIgL'In cargo, puedo presenter urI reclamo ante eI Alcalde, de
     conformidad con las reglamentacio'nes del KAR 44"..-.15- 101 et seq. Tengo entendido que el- personal de
     salud cobrara un aranceI de 352 OD, _por cuaIquIer vIsIta a. un eniernIo o VIsIta que no sea de ugenCIa SI                                                                      '   '_

     no se trata de una visita de seguimiento o por una derIvaCIon )


              '8
                       2.;
                                                           _
                                                                                 ..                           (WIMBaI/é
                                                                                                                     Patient                                   Firma'féA

     OIC(3
                             90%                 Place the slip in medical  request box  or
                                                                                                  Signature/(Pa'Ciente
                                                                                            designated area.

     O        f)   J       I57")
                                               (Pon  este articulo en la caja médica u  otra area designada.)
                                              Do not write below this area. (No escribe debajo de esta area.)

                                              Medical Record Yellow Copy Inmate/Patient, Pink Copy                                         Business Ofﬁce)
     '7 )(OLriginal
                                                                                                                                        




              f3       /
         (The area below                        IS not to       be          for education counselin             or documenting a clinical encounter)
     Triaged
     Date.
                           235%       !
                                          WWI.)
                                           I9.
                                                                     used
                                                                                                 Time.
                                                                                                                outine
                                                                                                             (3'53? 0
                                                                                                                         D Urgent         D Emergent
               I l
                   DZLII      I
     Date of Face-to Face Visit:                                    Q   I@'\         63 I
     Other.
                      Response Recommendation (to be completed by Medical Staff only)
                             \
     Initial
              D~.Nurse     D Doctor      D Dentist   D Eye Doctor    D Mental Health                                                                               D ARNP
     Appointment. \EI Nurse   IE! Doctorp' D Dentist  D Eye Doctor   D Mental Health                                                                               D ARNP
     Fee Charge    m'ﬁt)'            .46.»!             MC,
                                                                                                               I'?'ﬁfﬁCﬁF/IEI
                                                                                                  .




     "ll'iI'Is'IfIzt/IDQCIIIC" LU!                                                               i")1:
          '
               \Jm.II                           m      StafLSignature                        _
                                                                                                                                        C17     34].] 9/"
                                                                                                                                                      Date

               66de                                             33% (If; wit..t.
                                                                                                                                                             V
                                                       ("21/
                                  \
                                                                H
                                      ASK;
                                          I


    Centuriohi                                                                                                                                                              '
                                                                Ri'ﬂijﬁniﬁiﬁfﬁﬁﬁ'ﬂSﬁEﬁEﬁEﬁ
    07/01/202c                                                                                                                                           BenEU'rIGI'I.
               Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 41 of 48

t   Health Services Request Form
                                                                                                                      For Medical Use Only
                                                                                                                      Sélo para uso médico
                                                                                                                Date Received:
                                                                                                                Time Received:       (3000                              i.




                                                                                                                 IICJ) <;' K
                                              /
                                                                                                                                                                    x        ,4



     Print Name (lmprimir                                      Rah/12:"                            I377   KCI
     Date of Request:     nombre)
                         I53            /I0 ,1 Q                    I3; {1"
     ID #:         3/        5     I   [H      Date of Birth (Fecha de nacimiento):                                                "7/I'           '
                                                                                                                                                       §/®I                       "



                                                                                                   1Q
                                                                                                                                               d



     Housing Location (Ubicacion de la vivienda):               I        (f, Ll 'I
     Nature of problem or request (Naturaleza deI probIema 0 solicitud):        hag/I,                                                 Q 'DCIIQWI' IVY-'3'":
          (Sac 30/ on 5/(4/29. PCObLQm                                                                     0             I20 USIOkM'm/I                             42'               II
                                                                                                                                                                                               I       '




                                                                                                                                                                                                           it
                                                                                                                                           9'31]




                                                                                                                                                                                           é:
            TITC
                                                                                                                                                                        "32°               5


                     ("IOIDQcI OC'   VQ
              ﬁOINV suegrgIM/(LKHJI'I'KDIOA'IC                            QIQ'K'FY/IE 174-)
     Iconsent to be treated by health staff for the condition. described.
     (Da su consentimiento para ser tratada por el personal de salud para la condicion descrita. )
     I understand that my requesting health services does not necessarily mean that agree that should be                       I                        I




     assessed a charge for healthcare services. If disagree with any charges assessed understand may
                                                                         I                                                         I                            I



     ﬁle a grievance with the Warden as per KAR 44- 15- 101 et seq. understand that a $2. 00 fee will be
                                                                                                     I



     assessed for any sick call visit and any non-emergency visit to health care staff if it is not a follow-up
     visit or referral.

     (Entiendo que mi solicitud respect de recibir servicios de salud no necesariamente inplica que estoy de
     acuero en que se me cobren cargos por dichos servicios de saIud. Comprendo que, en caso de no
     estar- de acuero con el cobro de aIgL'In cargo puedo presenter un reclamo ante eI AIcaIde de
    .conformidad con Ias regIame'ntaciones del KAR 44-15' 101 et seq. Tengo entendido que el personal de
    'salud cobraraun arancel de $2. 00-, por cualquiervisita a un enfermo o visita que no sea de ugeric'ia, si
                                                                                                                                                                                                   '




     no se trata de una visita de seguimiento o por una derivacién )

                                                                                                   (:23     @ﬂtﬂ/IIM/g
                                                                                                     Pazi'ént                                           Firma)
                                                                                     SIgnaturePaeIente
                                     Place the slip in medical request box or designated area.
                                   (Pon. este articulo en la caja médica u otra area designada.)
                                  Do not write below this area. (No escribe debajo de esta area.)

                 (Original
                             
                                  Medical Record, Yellow Copy                    
                                                                                     Inmate/Patient, Pink Copy             
                                                                                                                               BUsiness Ofﬁce)


         (The area below'          Is not to be used for           education counseling or documenting a clinical encounter)
     Triaged by:                        (I 4/"4,1."                                   Routine  I III Urgent       III Emergent
     Date:                5', Ia? ~33:                         I              Time: "6600
                                                                    II
                                                           _




     Date of Face-to-Face Visit:            Cw   .
                                                                            "I
                                                                             I

                                                                                     7*                         4-   .




     Other:
                      Response Recommendation (to be completed by Medical Staff only)
     Initial   III Nurse   III Doctor        III Dentist    III Eye Doctor     III Mental Health                                                            I] ARNP                    -




     Appointment III'Nurse       III Doctor     III Dentist    III Eye Doctor  III Mental Health                                                            III ARNP


         ,'
               Charg
                F t               2_00i
                 FFU-Eénl ICCK é@'\
               FHM     Fi'Wr'LMR\I'xII
                             .'
                                                                                 Q         /
                                                                                               ("KMMMJV AAw
                                                                                                                            V \'Date S
                                                                                                                         HALF-FR
                                                                                                                                           o




                                                                                                                                           \\('\/\F {AM/K
                                                                                                                                                                It                                     QNIN'IK'NI
                                       \jtStaff Signature
                                                                                                                              J
          34:. 9T? 63%                         P11171115       1                 E-v'xlﬁ'ibmiﬁ                                                         "'9'
    Centurion: REC-013KS
    07/01/2020                                                                                                                                 cent" "on
               Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 42 of 48
       {A.P.R.N.) Ms. Johnson,
      'Dr. Gaston; Centurion Health                                   Care
T&
                                      '

                                                                                                               Dat         495/13/22

X         4        (        I
                                dTitle of Ofﬁcer or Department)



                 Unit I earn Mimbe Signature                                                                           To be retained by Inmate



                                                                            ECG E UV E D
Form 9
                                              '
                                                                                                                                      .

                                                                                                                              BLAUROCK
For Cellhouse Transfer                                                          MAY   1   6 2022
Work Assignment                                                                                                                            Last Name Only
                                                                       1




Interview Requests                                                              Medical Records
                                                                                 ED
                                                  KANSAS DEPAitTPvHENTQgifgéﬁﬁwﬂhls
                                                                                                                                86516
                                                                                                                                                  Number
      (A. P . R . N. )   'JohnEEMATE REQUEST TO STAFF MEMBER
                           Ms .
               Gaston; Centurion Health Care
Tszr.                                          Date  05/13/22
                 (Name and Title of Ofﬁcer or Department)                                                          .


                       State completely but brieﬂy the problem on which you desire assistance. (Be speciﬁc.)           0]: j_ g ina       (ofyﬁm
 AceeSs and Copv of Operative Report: I'am requesting access and Copv of
 the May 06, 2022 Operative ReportL Dr. Gaston's report regarding the
 lower abdominal-left side-inguinal hernia mesh revision procedure. I would
 ask your eo-operation without having to file an HIPPA.Complaint AUthorization
 For Release of Patient Information pursuant to 45 C.F.R. 164.508*

Worlc Assignment:      med ic a      l l ay
                                          '


                                                  1'   11                       Living Unit Assignment:        D   '1      (2 6 4)
Comment:                                                               Unit Team Members Signature:



Disposition:
                                                  r1

                                                            2


To:       WIMkrOd/V                 W51?                                                                           Date:        SIR???

                                                                                                       W tow We
                         (Name & Number)



Disposition

 Wm
                W0
                WM
                         MUM/mt                   mm     6mm                          0b (MN/v                                                    Wm
                    WLMWeSWMWMl/hﬁ  '10           Arum/w
  mJrﬂe WUascy/emsct nmm", mmm barmjtwptp
      Mm» (mm WW       m Mmé Mm Wmmwﬂl/
                  mm
                       Employee 3 Slgnature
                                                       mt
                                                                      P6    W W
                                                                                W SWM                                      0WD
                                                                                                                                          W       owl/1r.
                                                                                                                                  be returned to inmate.
P-0009b
                                                                not   Ch    W
                                                                           0b
                                                                                          WW
Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 43 of 48




      V534
         7
                                   Kansas Department
                                   of Corrections                   Policy Number: P-A-08a     Page   3   of 6
     centurion,                    Policies and Procedures


 '



     Subject: HIPAA Compliance



         .           The Final Privacy Rule states that while individuals are in a correctional facility or
                     in the lawful custody of a law enforcement ofﬁcial, covered entities (for example,
             -
                     the prison's clinic) can use or disclose Protected Health Information about these
                     individuals without authorization to the correctional facility or the law enforcement
                     ofﬁcial having custody asunecessary for:

                     -   Provision of healthcare to such individuals
                     .   Health and safety of individual or other patients
                     .   Health and safety of the ofﬁcers, of employees, or of others at the
                         correctional institution
                     o    Health and safety of individuals and ofﬁcers or other persons responsible for
                         transporting patients or their tranSfer from one institution or facility to another
                     .    Law enforcement on the premises of the correctional institution
                     -   The administration and maintenance of the safety, security, and good order of
                         the correctional institution. This section is intended to allow, for example, a
                          medical provider to disclose to a van driver transporting a patient that the
                          individual Is a diabetic and frequently has seizures, as well as information
                          about the appropriate action to take if the individual has a seizure while
                         ,he/she'Is being transported
                     .    Covered entitles are allowed to disclose Protected Health Information about
                          individuals if correctional institution or law enforcement official represents that
                                                                               '



                          Protected Health Information is necessary

        h.           The Privacy Rule establishes that an individual. has the right to review "designated
                 '
                     record sets" of his/her Protected Health Information. The Rule supports the right of
                     review of the information by patients but does not require the correctional agency to
                     provide the patient copies of his/her Protected Health Information. Under special
                     circumstances, patient requests for cOpies of Protected Health Information may be
                     denied by the correctional institution or covered entity. A patient request for copies
                     of Protected Health Information may be denied when.

                     -   Obtaining a copy would jeopardize the health, safety, security, custody or
                         rehabilitation of theindividual or other patients or the safety of any ofﬁcer
                         employee or other person at the correctional institution or responsible for
                         transporting the patient
                     -   These determinations are made in collaboration with the KDOC and in most
                         cases involve consultation with the KDOC's legal counsel
                     .   Even though such denials may be made, a personal representative may
                         obtain access on the patient's behalf in some cases in whichdenial has been
                         made to the patient. For example, a patient may be denied a copy of
                         Protected Health Information, but a personal representative may obtain
                         access on the individual' s behalf

                                    are                 l f ;f wrzxhlsitMI!
                                                          r
                                          "C1311. L."

                                                                                                  July 01, 2020
       Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 44 of 48


                                                                                           Page 5 of 8, IMPP 05-101D
                                                                                                      Effective 11-13-18

lV     Dissemination of Juvenile Offender Non-CHRI

       A.     Non-CHRI may be released only as provided by K.S.A. 38-2310, 38-2311 and 38-2316.

V      Offender and Former Offender Access to Their Records (AGO 2-1_E-0$,'~ACI_ 354095)

       A.     An offender. or formergoffénder_shallhave limitedaccess'   t_o   his/her ow_n reccirds' as follows:

              1.      May receive a copy of conviction data from the FBI record in accordance with K.A.R. 10-
                      13-1 and 10-13-2.

              2.      May sChedule an appomtment With a member of the clinical staff to discuss the contents of]
                      medical recordclinical evaluation and/or treatment record prepared by 'a clinical staffy.
                      member.

                      a,      Ihezoffender or formeroffender shall .not be furnishedacopy.

       :
       B      If the offenderor former offender feels that the information request has been improperly denied,
              the offender/former offender may request a meeting with the facility warden/superintendent or
              designee or parole director or designee.

VI.    Documentation of Dissemination

       A.     The dissemination of any CHRl shall be logged in the individual's ﬁle on the CHRI Dissemination
              Log, (Attachment B) or documented in the contact notes for offenders on community supervision.

       B:     The Central Ofﬁce, or facility providing the CHRI, shall attach or stamp the following notice to non-
              conviction data before   it   is disseminated:

              1.      This information is restricted as to use and dissemination. Civil and criminal
                      penalties exist for misuse. See Kansas Criminal History Plan. Kansas Department
                      of Corrections.

                      Date:                                       Released By:

                                                                  Logged By:

              2.      The above notice is not required if information is furnished for the purpose of processing a
                      charge through the criminal justice system and if it relates only to the charge currently in
                      process.

       C      The signed Consent for Release of Conﬁdential information form (Attachment A), executed prior to
              the release of any information, shall serve as documentation of the dissentination of non-CHRI
              material.

              1.      A copy of the completed form    shall be maintained in the offender's Master File or parole
                      case ﬁle. for offenders on supervision in the community. (ACO '121      ACl
VII.   ADULT: Release of Attorney's and Diagnostic Reports

       A.     Under no circumstances shall the contents of either the County/District Attorney's or Defense
              Attorney's report be released to offenders or former offenders.

       :
       B      The diagnostic report prepared by the El Dorado Correctional Facility Reception and Diagnostic
              Unit (EDCF-RDU) for male offenders or, in the case of female offenders, Topeka Correctional
              Facility Reception and Diagnostic Unit (TCF-RDU) may be disclosed in accordance with K.S.A. 75-
              5266 which permits dissemination to the sentencing court, the County/District Attorney, the
              attorney for the defendant or offender, the Prisoner Review Board and its staff, the wardens and


                                             "132m
                                                     sfﬁtf'fau   Exam
                           Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 45 of 48

f
                                                                                                                                                       we"
                                                                                                                                                        :2
                                                                                                                                                             /   1   ';"   «":-.1i
                                                                                                                                                                           a
                                                                                                                                                                                           I:
                                                                                                                                                                                                      .

                                                                                                                                                                                     :.,_/."rl.i&i'f'j_f,i/}



                                           HIPAA Compliant Authorization Fdr Release Of Patient Information
                           '
                                   '




                                                           Pursuant to 45 C.F.R. 164.508'!'
                                                .
                                                                                                      1"


      Patient Name:                    Robert Dean Blaurock        .
                       .
                                       ,
                                                                          R




     Date of Birth:                    July .15 ,             196:1}                       Soc. Sec. if:           515-76-'1357

     Medical Provider:                          Centurion Health Care Provider, E'.D.C.F.
                                                1737 S.E. 54 Highway, 13.0. Box 311
                                                El    Dorado, Kansas 67042
                                                                                                                    '




                                                              Robertt&._:.,_B,lauro.6'~kl,_;s#- 86.516'
                                                                                                                        --   --   ~

     Regqgstgﬁ                                       {113mg
                                            ~                                                                                         --   -

                                                                                                                                               _
                                                                                                                                                   w

                                                     AddressE.D.C.F.,.P.0..,-Box 311, El Dorado Rs: 67042
                                                                                      '
                                                                                              '


                                                     Contact: (mysel)
                                                                                                                                                   ~




                                                                              _




             lauthorize the disclosure of all protected information for the purpose of review and
                                                                                                     evaluation in
      connection with a legal claim. 'I expressly request that the designated record custodian
                                                                                                of all covered entities
      under HIPAA identiﬁed above disclose full and complete medical health information
                                                                                            for the time period of

    081 Olﬂmintil the cOnclusion of litigation, including the following:

                                           All medical records, meaning every Ipage in my record, including, but not_limi-ted to:
                 .                                                                                                                office
                                                                                                                               and
                                           notes, face sheets, history and physiCal, consultation notes, inpatient, outpatient
                                                                                                    order sheets, progress notes, nurse's
                                           emergency room treatment, all clinical charts, reports,
                                                                                                                                                                                                 .        '




                                                                                                          admission records, discharge
                                           notes, social worker records, clinic records, treatment plans,                                                                              '




                                           summaries, requests for and reports of consultations, documents, correspondence,
                                                                                                 records received from other physicians
                                           photographs, videotapes, telephone messages, and
                                           or health care providers;

                 o                         All physical, Occupational and rehabrequests, consultation-s and progress notes;
                                                                                                                        of       of
                 \-                        All disability, Medicaid or Medicare retards including claim forms and record deiuial
                                                                                                               "
                                           benefits;          _




                                                                                                               films and reports, CT Scan,
                 o                         All autopsy, laboratory, histology, cystology, pathology, radiology
                                                                                                            catheterization
                                           MRI, angiograms, echocardiogram videos and reports, cardiac
                      "'
                                                                                                               bone scans;
                                           videos/CDs/films/reels and reports, mammograms, myelograms,

                                           All pathology, cytology, histology, autopsy, immuno-histochemistry specimens and
                               '


                 -
                                           materials including, but not limited to, slides and blocks;

                 0                         All pharmacy/prescription records, ineluding, but not-limited to: NDC numbers and drug
                                                                                                           '



                                           information handouts/monographs;                       '




                                                                                                                       claim forms,.
                                                    records, including, but not limited to: all statements, insurance
                           '

                 o                     "All
                                            billing                                                                 or  denial of benefits;
                                        itemized bills, and records of billing to third party payers and payment

                                                                                  '

                                                                                          W'srﬁxhltbkEJl (1:)
             {00179231.oocx}
                      Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 46 of 48




                                                                              all policies and exclusions;
              -         All insurance records; including, but not limited to:
                                                                      rd
              .         All documents related to amendment of any reco requested;

     This authorization expressly permits the requestor to speak/consul
                                                                        t with records custodians,
                                                                                      of obtaining the
                                  es and doctors regarding the above for the-purpose
 accounting representatives, nurs
 above-referenced documents and information.
                                                                                               .




                                                            osed may include information relating to sexually
     i understand the information to be released or discl                                           virus
                                                                    S) or human immunedeficiency
transmitted diseases, acquired immunodeﬁciency syndrome (AID                       e of this type of
                                         abuse. authorize the release or disclosur
(HIV), pSychiatric, and alcohol and drug
                                                              I




information.
                                                          federal consent requirements for release cfalc
                                                                                                         oho!
      This authorization is given in compliance with the                                              ed
                                                                                              consider and
                                                 restrictions of which have been speciﬁcally
or substance abuse records of 42 CFR 2.31, the
expressly waived.
                                                  rds to RObeT-'t D - Blaur00k(myself)W                                                     h0 have
     You are authorized to release the above reco
                                                                                                                                                      .




                                                                             rds.
                                  made _by you to supply copies of such reco
agreed to pay reasonable charges
                                                                        , or when the following
                                                                                                 event occurs:
      This authorization is effective until (date)
                                     . i understand that I may
                                                                revoke this authorization at any time, except to
     .Conclusio-n ofiegal matter                                                        notice to, Centurion
the extent that action has already been    taken-in reliance upon it, by giving written
 Health Care Prov1der, E.D. C.F. , 1737 S . E. 54 Hwy
                                                                             .      Dorado, KS . '67042     El

                                         information disclosed pursuant to
                                                                              this authorization to be subject to
                  dge the pote ntial for
        acknowle
          l
                                                                                        i understand that the
                                                  be protected under 45 CFR 164.508.
 redisclosure by the recipient and no longer                                                  ent, enrollment or
                 to who  this auth orization  is directed may not condition treatment, paym
 covered entity
                                 or not sign the authorization.
 eligibility beneﬁts on whether
                                                   I



                                                                                            the records requested
                               phot ocop  y of the  authorization authorizes you to release
      »

       Any facsimile, copylor
  herein.                                                                                                                                             -




                                   of age or oldellc ALLA-z.
                                                                                                                      ate     "Qt/g/I/AQRQ'
  Signature of Patient if 18 years
                                                                                 ,~        -




                                                                                                                    Date
  Signature of Parent or Legal Representative
                              not signed by Patient
  Relationship to Patient, if
                                                                                                                          State of Kansas
                                                                                                    NOTARY PUBLIC
                                                                                                                      -




              STATEOF;          ":5            )                                                      AMANDA JOHNSON                        '



                  '
                            .                  l-SS-                                                      App! Expires
                                                                                                                       ___.____..._..-

                                 70",",
                                                                                                     My
              coumvor
              Subscribed and sworn to before me this
                                                          .   2!   day of       {ting              fEZZL
                                                                            '

              MYCOMMISSION EXPIRES:           é-ulrzagﬁ                     -

                                                                                      __
                                                                                                   Not/awfubli/i/
                                                                                                             ,




                                                   eleangnta'
              (00179281DOCXl
                          Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 47 of 48


      'r:
"35
                                                                            INMATE REQUEST TO STAFF MEMBER

                  Cenmci an
 To:                    M                   if
                                                     RQCDCaE
                                                     (00:051.
                                      (Name and Title of Ofﬁcer or Department)
                                                                              (DECK                    i

                                                                                                                                                              Date:        -4       Mg             é|¢       )   1
                                                                                                                                                                                                                         2;?

                            Unit Team Member Signature                                                                                                           To be retained by Inmate




 Form9
 For Cellhouse Transfer
                                                                                                      F3E©EWED
                                                                                                           Jlj
                                                                                                                                                                           .



 Work Assignment                                                                                                 N       2 1 2022                                                                          Last Name Only
 Interv1ew Requests

                                                                      KANSAS DE
                                                                                                 LAnrmfgﬁfggkmcr                                       ONS
                                                                                                                                                                                    8 (0 S Ma
                                                                                                                                                                                                                         Number
            Cenﬁxrio n                                            INMATE REQUEST TO STAFF MEMB
 To:           iiggggg (Name
                       Q43       JQC cer or
                                        Q
                             and Title ofﬁg
                                         0                     Department)
                                                                                                -6.3241414,                  Date:                     {DE}510                  /a /2
                                        State completely but brieﬂy the problem on which you desire assistance. (Be speciﬁc.)



                                                                                                                                                                                                                                C7,

                  _j_       I-D,                     .       .-   "A"..-
                                                                                   ('
                                                                                                      vent.
                                                                                                                                  I
                                                                                                                                      '
                                                                                                                                              4_       {he
                                                                                                                                                          n.     '
                                                                                                                                                                            Don;
                                                                                                                                                                            \                 \l
                                                                                                                                                                                                   _




                                                                                                                                                                                                                           £7]
       Q              '/@0' en                                                                        A
                                                                                                                                                                                                       




                      .__',,;,                           4-.                   ,
                                                                                                                     f
                                                                                                                             _.                p_
                                                                                                                                                         a,
                                                                                                                                                                           Ind.      .                      .' A                Q,69.
           4-.-
                                                 ..          ._                                        .9                (          '1;       9'              (.1.                   Q             _
                                                                                                                                                                                                                         «poo/9,
           h
           D
                  .34     --             'A
                                                 .



                                                         .A           L            _
                                                                                           4'     V
                                                                                                mx._                     0 0.1.0; I; o)                          1/
                                                                                                                                                                      'l                 I!
                                                                                                                                                                                              p     49                     ml
                                                                                                                                                                                                                                  f
                                                         J                                                                                                                                                           '




                                                                                                                                                               D
                                                                  '
                                                                                   4/
                                                                                                                                                                                     (94 (fig Lil)
       .
                                                                                                                     .   .                .        .

                                        mgzj'
                  .
 Work Ass1gnment:                                                                                                L1v1ngUn1tA331gnment:
                                                                                                                                                                       =-'      i
                                                         g
                                                             ('0')!       ierNK' (\J   5

                                                                              /
Comment"                                                                                              Unit Team Members Signature:



Disposition:



                                                                      '13.,1DDDDDff'sﬁExh1-n31tzy':



DD                Vow/trod;                                  Wally                                                                                              DD                  (4123/22
                                        (Name & Number)


               SWL WA, WW m Diob'i'WS N415
           WMMeism/m
Disposition:
                     ml m (M7M
                                 ht
                                    '00 rpm/L                                                                        W                                                 W Wm         U40
                 swims/x W rmwm. Mum/L
                                  .


           me                                                                                                                                                                       (02/           W01
                      w m                   mt           Miﬂ/ memes Wam' lo                                                                   Mm
P-0009b
           [up
                           (710%                     W
                                      Employee' 5 Signature
                                                              Vice.
                                                                                                                                                                                    To be returned to inmate.
                 Case 6:22-cv-01196-JWB-GEB Document 1-1 Filed 08/29/22 Page 48 of 48
                                                   lNMATE REQUEST TO STAFF MEMBER


       Ms. Good, Records Clerk
To:   Cpnj'nr'i nn H921 1'11 ('nrp                                                                               Date       06/30/22
                      (Name and Title of Ofﬁcer or Department)



                Unit Team Member Signature              '
                                                                                                                      To be retained by Inmate




Form 9
                                                                  oeuven
                                                                                                                            BLAUROCK
For Cellhouse Transfer                                           J UL   0 1 2022
Work Assignment                                                                                                                            Last Name Only
Interview Requests                                               Medical Records

                                               KAN AS DE"§%CTFR%§§ieF
                                                        l. 111' J.    m, RECTIONS
                                                                                                                             86516
                                                                                                                                                  Number
       Ms. GoOd, Records INMATEREQUESTTOSTAFFMEMBER
Tm    Centurion Health Care             Date 06/30/22
                (Name and Title of Ofﬁcer or Department)
                      State completely but brieﬂy the problem on which you desire assistance. (Be speciﬁc.)


  INFORMATION REQUEST NON-PRIVILEGED:            I'am requesting Dr. Gaston's
  first        name     only. Such is necessary for Court purposes, expert witness.




Work Assignment: med 1 C a         l l 51y in
                                     :
                                                                                   Living Unit Assignment:   D   '1     (   26   4)
Comment:                                                                Unit Team Members Signature:



Disposition:


                                                                          w"!   "v24

                                                     L331         ﬂaw                  Jeiﬁ'




To:        all/WWW 8V5";                                                                                           Date:              7il i 901
                        (Name & Number)



Disposition:     pm! [TEAl               d'    W                       mm W                                 WWWTXW                        .




                 mm, M. We.
                     Employee's Signature                                                                                        To be returned to inmate.
P-0009b
